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     F11, ,n t111s 111forrn,1t,~;n to 1dent1fy your :ase


     United States Bankniptcy Court for the:

     Southern District of Florida

     Case number (If know,): _ _ _ _ _ _ _ _ _ _ Chapter you are filing under:
                                                                         liil Chapter 7
                                                                         •   Chapter11
                                                                         •
                                                                         •
                                                                             Chapter12
                                                                             Chapter13                                                      •   Check if this is ~
                                                                                                                                                             lf .
                                                                                                                                                amended filing


Official Form 101                                                                                                                           FI~EO-USBC, FLS-MIA
                                                                                                                                              ·19 DEC 23 PM!: 14
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a b a n k r f i j ~ ! . ,
joint cas~nd in joint cases, these fonns use you to ask for Information from both debtors. For example, if a fonn,q~                    41 ,
the answer would be yes If either debtor owns a car. When Information Is needed about the spouses separately, thfflrtii'u            'f-11
Debtor 2 to distinguish between them. In Joint cases, one of the spouses must report Information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 In all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.


•ifI           Identify Yourself

                                            About Debtor 1:                                                    About Debtor 2 (Spouse Only In a Joint Case):
1. Your full name

       Write the name that is on your
                                            Mark
       government-issued picture
                                            First name                                                         First name
       identification (for example,
       your driver's license or             Anthony
       passport).                           Middle name                                                        Middle name

       Bring your picture                   McDonald
       identification to yo,Jr meeting      Last name                                                          Last name
       with the trustee.
                                            Suffix (Sr., Jr., 11, Ill)                                         Suffix (Sr., Jr., II, Ill)




2.     All other names you
       have used in the last 8              First name                                                         First name
       years
       Include your married or              Middle name                                                        Middle name
       maiden names.
                                            Last name                                                          Last name



                                            First name                                                         First name


                                            Middle name                                                        Middle name


                                            Lastl!lame                                                         Last name




3.     Only the last 4 digits of
                                            XXX      -XX-                6      1         2   6                XXX           XX- _ _ _ _ _ _ __
       your Social Se1:urity
       number or fedttral                   OR                                                                 OR
       Individual Taxpayer
       Identification number                9xx - xx                                                           9xx - xx - ________
       (ITIN)

Official Form 101                                         Voluntary Petition for Individuals FIiing for Bankruptcy                                      page 1
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Debtor 1     Mark         Anthony                 McDonald                                           Case number (iflmo,..,__ _ _ _ _ _ _ _ _ _ _ __
              F1191Name    MiddeName                Last Name




                                       About Debtor 1:                                                   About Debtor 2 (Spouse Only In a Joint Case):


"'· Any business names
    and Employer                       ~ I have not used any business names or EINs.                     D      I have not used any business names or EINs.
    Identification Numbers
    (EIN) you have uised in
    the last 8 years                   Business name                                                     Business name

    Include trade names and
    doing business as names
                                       Business name                                                     Business name




                                                                                                         EIN-


                                       EIN-                                                              EIN-




s. Where you live                                                                                        If Debtor 2 lives at a different address:


                                       11300 SW 179th St
                                       Number          Street                                            Number          Street




                                       Miami                                     FL        33157
                                       City                                     State     ZIP Code       City                                     State    ZIP Code

                                       Miami-Dade
                                       County                                                            County


                                       If your mailing address Is different from the one                 If Debtor 2's malllng address Is different from
                                       above, fill It In here. Note that the court will send             yours, fill It In here. Note that the court will send
                                       any notices to you at this mailing address.                       any notices to this mailing address.



                                       Number          Street                                            Number          Street



                                       P.O. Box                                                          P.O. Box


                                       City                                     State     ZIP Code       City                                     State    ZIP Code




&. Why you are choosing                Check one:                                                        Check one:
   this district to file for
   bankruptcy                          6Zl Over the last 180 days before filing this petition,           D      Over the last 1BO days before filing this petition,
                                              I have lived in this district longer than in any                  I have lived in this district longer than in any
                                              other district.                                                   other district.

                                       D      I have another reason. Explain.                            D      I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                           (See 28 U.S.C. § 1408.)




  Official Form 101                                 Voluntary Petition for Individuals Flllng for Bankruptcy                                        page 2
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Debtor 1        Mark         Anthony                  McDonald                                       Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ __
                First Name    Mickle Name              Last Name




•Mil          Tell the Court About Your Bankruptcy case


7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                            ~ Chapter?
      under
                                            •   Chapter 11

                                            •   Chapter 12

                                            •   Chapter 13


a. How you will pa·v the fee                iiZI I will pay the entire fee when I file my petition.
                                                                                                 Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                            •   I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            •   I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                    iiZI No
      bankruptcy within the
      last 8 years?                         •   Yes. District                                When
                                                                                                     MM/ DD/YYYY
                                                                                                                      Case number


                                                       District                              When                      Case number
                                                                                                     MM/ DD/YYYY

                                                       District                              When                     Case number
                                                                                                     MM/ DD/YYYY



10. Are any bankruptcy                      ~ No
      cases pending or being
      filed by a spouse who is              • Yes.     Debtor                                                          Relationship to you
      not filing this case with                        District                              When                      Case number, if known
      you, or by a business                                                                          MM/DD /YYYY
      partner, or by an
      affiliate?
                                                       Debtor                                                          Relationship to you

                                                       District                              When                      Case number, if known
                                                                                                     MM/DD/YYYY



11. Do you rent your                        ~ No.    Go to line 12.
      residence?                            •   Yes. Has your landlord obtained an eviction judgment against you?

                                                       •    No. Go to line 12.
                                                       •    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                            part of this bankruptcy petition.




     Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1      Mark         Anthony                     McDonald                                         Case number (If/mown),_ _ _ _ _ _ _ _ _ _ _ __
             Finl Name         MlddleNane               Last Name




•,,,       Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor               ~ No. Go to Part 4.
   of any full- or part-time
   business?                                0   Yes. Name and location of business
   A sole proprietorshi;> is a
   business you operate as an
                                                       Name of business, if any
   individual, and is net a
   separate legal entity such as
   a corporation, partnership, or
   LLC.                                                Number       Street

   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                        City                                                               ZIP Code


                                                       Check the appropriate box to describe your business:

                                                       0   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                       0   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                       0   Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                       0   Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                       0   None of the above


13. Are you filing under                    If you are filing under Chapter 11, the courl must know whether you are a small business debtor so that it
   Chapter 11 of the                        can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
   Bankruptcy Code and                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(6).
   are you a small business
   debtor?
   For a definition of small
                                            il'I No.   I am not filing under Chapter 11.

   business debtor, see                     0   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   11 U.S.C. § 101(5'1D).                           the Bankruptcy Code.

                                            0   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.


           Report H You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                  ~No
   property that poses or is
   alleged to pose a threat                 0   Yes. What is the hazard?
   of imminent and
   Identifiable hazard to
   public health or safety?
   Or do you own any
   property that needs                                  If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                        Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                  Number       Street




                                                                                  City                                         State     ZIP Code


 Official Form 101                                      Voluntary Petition for lndlvlduals FIiing for Bankruptcy                                 page4
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Debtor 1      Mark        Anthony               McDonald                                             case number (if known.,__ _ _ _ _ _ _ _ _ _ _ __
             FlnllNam•      MlddeName            last Name




           l!xplaln Your l!fforts to Receive a Briefing About er.dlt Counsellng

                                        About Debtor 1:                                                   About Debtor 2 (Spouse Only In a Joint Case):
1s. Tell the court whE1ther
   you have received a
   briefing about crE1dlt               You must check one:                                               You must check one:
   counseling.
                                        Iii I received a briefing from an approved credit                 0 I received a briefing from an approved credit
                                           counseling agency within the 180 days before I                    counseling agency within the 180 days before I
   The law requires that you               filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
   receive a briefing about credit         certificate of completion.                                        certificate of completion.
   counseling before you file for
                                           Attach a copy of the certificate and the payment                  Attach a copy of the certificate and the payment
   bankruptcy. You ml.ll!,t
                                           plan, if any, that you developed with the agency.                 plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you            D I received a briefing from an approved credit                   D I received a briefing from an approved credit
   cannot do so, you ar,e not                                                                                counseling agenc:y within the 180 days before I
                                           counseling agency within the 180 days before I
   eligible to file.                                                                                         flied this bankruptcy petition, but I do not have a
                                           flied this bankruptcy petition, but I do not have a
                                           certificate of completion.                                        certificate of completion.
   If you file anyway, the court                                                                             Within 14 days after you file this bankruptcy petition,
                                           Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                           you MUST file a copy of the certificate and payment               you MUST file a copy of the certificate and payment
   will lose whatever filing fee                                                                             plan, if any.
                                           plan, if any.
   you paid, and your creditors
   can begin collection activities      D I certify that I asked for credit counseling                    D I certify that I asked for credit counseling
   again.                                  services from an approved agency, but was                         services from an approved agency, but was
                                           unable to obtain those services during the 7                      unable to obtain those services during the 7
                                           days after I made my request, and exigent                         days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                           of the requirement.                                               of the requirement.
                                           To ask for a 30-day temporary waiver of the                       To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining                   requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why                 what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for                 you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                        bankruptcy, and what exigent circumstances
                                           required you to file this case.                                   required you to file this case.

                                           Your case may be dismissed if the court is                        Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a                dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                         briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must             If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.           still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                     You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you                 agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case                 developed, if any. If you do not do so, your case
                                           may be dismissed.                                                 may be dismissed.
                                           Any extension of the 30-day deadline is granted                   Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15                  only for cause and is limited to a maximum of 15
                                           days.                                                             days.

                                        0 I am not required to receive a briefing about                   0 I am not required to receive a briefing about
                                           credit counseling because of:                                     credit counseling because of:

                                           0   Incapacity.    I have a mental illness or a mental            0   Incapacity.    I have a mental illness or a mental
                                                              deficiency that makes me                                          deficiency that makes me
                                                              incapable of realizing or making                                  incapable of realizing or making
                                                              rational decisions about finances.                                rational decisions about finances.
                                           0   Disability.    My physical disability causes me               0   Disability.    My physical disability causes me
                                                              to be unable to participate in a                                  to be unable to participate in a
                                                              briefing in person, by phone, or                                  briefing in person, by phone, or
                                                              through the internet, even after I                                through the internet, even after I
                                                              reasonably tried to do so.                                        reasonably tried to do so.
                                           0   Active duty. I am currently on active military                0   Active duty. I am currently on active military
                                                            duty in a military combat zone.                                   duty in a military combat zone.

                                           If you believe you are not required to receive a                  If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a                 briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.            motion for waiver of credit counseling with the court.




  Official Form 101                              Voluntary Petition for Individuals FIiing for Bankruptcy                                        page 5
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                Mark       Anthony               McDonald                                           Case number (if known),_ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
               FlntNane     MiddeName             Last Name




I§•I         Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                             • No. Go to line 16b.
                                             ~Yes.Goto line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                             ~No.Goto line 16c.
                                             •   Yes.Goto line 17.

                                        16c. State the type of debts you CYNe that are not consumer debts or business debts.



11. Are you filing under
      Chapter7?                         •   No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ~ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                      6li No
      administrative expenses
      are paid that funds will be           Yes  •
      available for distribution
      to unsecured creditors?

1a. How many creditors do               ~ 1-49                                  •   1,000-5,000                            •   25,001-50,000
    you estimate that you               • 50-99                                 •   5,001-10,000                           •   50,001-100,000
    owe?                                • 100-199                               •   10,001-25,000                          •   More than 100,000
                                        • 200-999
19.   How much do you                   • $0-$50,000                            •   $1,000,001-$10 million                 •   $500,000,001-$1 billion
      estimate your assets to           • $50,001-$100,000                      •   $10,000,001-$50 million                •   $1,000,000,001-$10 billion
      be worth?                         ~ $100,001-$500,000                     •   $50,000,001-$100 million               •   $10,000,000,001-$50 billion
                                        • $500,001-$1 million                   •   $100,000,001-$500 million              •   More than $50 billion

20.   How much do you                   • $0-$50,000                            •   $1,000,001-$10 million                 •   $500,000,001-$1 billion
      estimate your liabilities         • $50,001-$100,000                      •   $10,000,001-$50 million                •   $1,000,000,001-$10 billion
      tobe?                             ~ $100,001-$500,000                     •   $50,000,001-$100 million               •   $10,000,000,001-$50 billion
                                        • $500,001-$1 million                   •   $100,000,001-$500 million              •   More than $50 billion

•@fl         Sign Below
                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                        x~--                                                            x _ _ _ _ __
                                            Signature of Debtor 1                                            Signature of Debtor 2

                                            Executed on       12/22/2019                                     Executed on _ _ _ _ _ __
                                                              MM   / DD /YYYY                                             MM/ DD       /YYYY


  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page6
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Debtor 1    Mark        Anthony                   McDonald                                       case number(ffknownJ,_ _ _ _ _ _ _ _ _ _ _ _ __
             ArstName    Midcle Nane               Last Name




                                       I, the atmmey for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, If you are          to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                       the notice required by 11 U.S.C. § 342(b) and, in a case in which§ 707(b)(4)(D) applies, certify that I have no
If you are not represented             knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this pagt1.
                                       X                                                                  Date
                                           Signature of Attorney for Debtor                                              MM         DD /YYYY




                                           Printed name



                                           Firm name



                                           Number      Street




                                           City                                                          State           ZIP Code




                                           Contact phone _ _ _ _ _ _ _ _ _ _ _ _ __                      Email address




                                           Bar number                                                    State




 Official Form 101                                 Voluntary Petition for Individuals FIiing for Bankruptcy                                    page 7
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Debtor 1     Mark      Anthony                   McDonald                                        case number (ff/mown)_ _ _ _ _ _ _ _ _ _ _ __
             FntName    Middle Name               Last Name




For you If you are filing this            The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                     should understand that many people find it extremely difficult to represent
attorney                                  themselves successfully. Because bankruptcy has long-term financial and legal
                                          consequences, you are strongly urged to hire a qualified attorney.
H you are represented by
an attorney, you do not                   To be successful, you must correcUy file and handle your bankruptcy case. The rules are very
need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                          dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                          hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                          firm if your case is selected for audit. If that happens, you could lose your right to file another
                                          case, or you may lose protections, including the benefit of the automatic stay.

                                          You must list all your property and debts in the schedules that you are required to file with the
                                          court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                          in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                          property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                          also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                          case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                          cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                          Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                          If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                          hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                          successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                          Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                          be familiar with any state exemption laws that apply.

                                          Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                          consequences?

                                          •      No
                                          !iZI   Yes

                                          Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                          inaccurate or incomplete, you could be fined or imprisoned?

                                          •      No
                                          lia    Yes

                                          Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                          lilJ   No
                                          •      Yes. Name of Person,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                          By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                          have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                          attorney may cause me to lose my rights or property if I do not property handle the case.


                                      X                                                               X
                                           Signature of Debtor 1                                          Signature of Debtor 2

                                          Date                12/22/2019                                  Date
                                                              MM/ DD   /YYYY                                               MM/    DD /YYYY

                                          Contact phone _ _ _ _ _ _ _ _ _ _ _ _ __                        Contact phone

                                          Cell phone          786-399-1951                                Cell phone

                                          Email address       makmc3@gmail.com                            Email address



  Official Form 101                               Voluntary Petition for Individuals FIiing for Bankruptcy                                   page 8
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 Fill ,n this 111for111~t1on to 1dent1fy your c3se


 Debtor 1          Mark                         Anthony                           McDonald
                    FlrstName                        MidcleName                      Last Name

 Debtor2
 (Spouse, if filing) Fi'II Name                      Mldde Name                      LaatName


 United States Bankruptct Court for the: Southern District of Florida

 Case number                                                                                                                                                                0   Check if this is an
                     (If known)                                                                                                                                                 amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are fillng together, both are equally responsible for supplying correct
information. FIii out all of your schedules first; then complete the Information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


•ifI           Summarize Your Assets

                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule AIB: Property (Official Form 106A/B)
                                                                                                                                                                            $      230,000.00
   1a. Copy line 55, Total real estate, from Schedule AIB ............. .............................................................................................


    1b. Copy line 62, Total personal property, from Schedule A/8 ...............................................................................................               13_,8_0_5_.o_o
                                                                                                                                                                            $ __



                                                                                                         .
    1c. Copy line 63, Total of all property on Schedule AIB .........................................................................................................
                                                                                                                                                                            $      243.805.00       1

•ifj           Summarize Your Llabllltles


                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                            $      464,591.00
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D .......... ..

3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            $               0.00
   3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF ........................................... .

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF ..................................... ..                                         8812.53
                                                                                                                                                                        +   $


                                                                                                                                        Your total llabliltles              $      473,403.531


•ifi           Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                            $ _ _ _1505.59
                                                                                                                                                                                    _ __
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                            $ _ _ _2707.00
                                                                                                                                                                                    _ __
    Copy your monthly expenses from line 22c of Schedule J ....................................................................................................




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1 of 2
                                   Case 19-27024-LMI                  Doc 1        Filed 12/23/19             Page 10 of 56

   Debtor 1        Mark                      Anthony                 McDonald                         Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name        Last Name




  •Iii            Answer 1rhese Questions for Administrative and Statistical Records

    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       0   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       liZIYes


    7. What kind of debt do you have?

       6ZI Your debts ar,e primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       0      Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



    8. From the Statemnnt of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   $
                                                                                                                                                  - - -1759.09
                                                                                                                                                        ---



    9. Copy the following special categories of claims from Part 4, llne 6 of Schedule E/F:


                                                                                                              Total claim


        From Part 4 on Schedule EIF, copy the following:


       9a. Domestic support obligations (Copy line Sa.)                                                       $                    0.00

       9b. Taxes and certain other debts you owe the government. (Copy line Sb.)                              $                    0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line Sc.)                    $                    0.00

       9d. Student loans. (Copy line Sf.)                                                                     $                    0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as            $                    0.00
           priority claims (Copy line 6g.)


       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line Sh.)               +s                     0.00

       9g. Total. Add lines 9a through 9f.                                                                    $                    000    I




Official Form 10SSum         Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 2 of2
                                   Case 19-27024-LMI                       Doc 1         Filed 12/23/19           Page 11 of 56

Fiil 111 tnis 1nfo1rnat1on to 1dent1fy your cas, ilnd this f\11119



Debtor 1           Mark             Anthony                       McDonald
                   FntName                     Midde ,.,.,.               Last Name

Debtor2
(Spouse, ifllNng) Fm Name                      Mkkle Name                 last Name


United States Bankruptcy Court for the: Southern District of Florida

Case number
                                                                                                                                            0   Check if this is an
                                                                                                                                                amended filing

 Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, sepa,rately 11st and describe Items. List an asset only once. If an asset fits In more than one category, 11st the asset In the
category where you think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for suppl)1ng correct lnfonnatlon. If more space Is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (If known). Answer every question.

             Describe Each Residence, Bulldlng, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest In any residence, building, land, or similar property?

   D   No. Go to Part 2.
   li1 Yes. Where is thE• property?
                                                                   What is the property? Check all that apply.
                                                                                                                      Do not deduct secured claims or exemptions. Put

            11300 SW 179th St
                                                                   Gf    Single-family home                           the amount of any secured claims on Schedule D:
     1.1.                                                                                                             Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description
                                                                   0     Duplex or multi-unit building
                                                                   0     Condominium or cooperative                   Current value of the      Current value of the
                                                                   0     Manufactured or mobile home                  entire property?          portion you own?
                                                                   0     Land                                         $      230,000.00         $    230,000.00
            Miami                           FL        33157
                                                                   0     Investment property
                                                                   D     Timeshare                                    Describe the nature of your ownership
            City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                   D     Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                      the entireties, or a life estate), If known.
                                                                   Who has an Interest In the property? Check one.

            Miami-Dade                                             Gf Debtor 1 only
            County                                                 0    Debtor 2 only
                                                                   0    Debtor 1 and Debtor 2 only                    0   Check if this is community property
                                                                                                                          (see Instructions)
                                                                   0    At least one of the debtors and another
                                                                   Other lnfonnatlon you wish to add about this Item, such as local
                                                                   property Identification number: _ _ _ _ _ _ _ _ _ _ _ _ __
   If you own or have more than one, list here:
                                                                  What Is the property? Check all that apply.
                                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                  D     Single-family home                            the amount of any secured claims on Schedule D:
     1.2.                                                                                                             Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description
                                                                  D     Duplex or multi-unit building
                                                                  D    Condominium or cooperative                     Current value of the      Current value of the
                                                                  D     Manufactured or mobile home                   entire property?          portion you own?
                                                                  D     Land                                          $_ _ _ _ _ __             $._ _ _ _ _ __
                                                                  D     Investment property
                                                                  D     Timeshare
                                                                                                                      Describe the nature of your ownership
            City                            State      ZIP Code                                                       Interest (such as fee simple, tenancy by
                                                                  D     Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                      the entireties, or a life estate), if known.
                                                                  Who has an Interest In the property? Check one.
                                                                  D Debtor 1 only
            County                                                D Debtor 2 only
                                                                  D Debtor 1 and Debtor 2 only                        0   Check If this Is community property
                                                                  0    At least one of the debtors and another            (see instructions)

                                                                  Other infonnatlon you wish to add about this item, such as local
                                                                  property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __


Official Form 106A/B                                               Schedule A/8: Property                                                              page 1
                                   Case 19-27024-LMI                        Doc 1         Filed 12/23/19             Page 12 of 56
Debtor 1        Mark                Anthony                          McDonald                              case    number (r1mown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   Finl.Name      Middle Name            Last Name




                                                                     What Is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put
                                                                     •   Single-family home                                 the amount of any secured claims on Schedule D:
     1.3.
            Street address, tf available, or other description       •   Duplex or multi-unit building
                                                                                                                            Creditors Who Have Claims Secured by Property.

                                                                     •   Condominium or cooperative                         Current value of the     Current value of the

                                                                     •   Manufactured or mobile home
                                                                                                                            entire property?
                                                                                                                            $_ _ _ _ _ _ _
                                                                                                                                                     portion you own?
                                                                                                                                                     $_ _ _ _ _ __
                                                                     •   Land
                                                                     •   Investment property
            City                            State      ZIP Code      •   Timeshare
                                                                                                                            Describe the nature of your ownership
                                                                     •   Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                            interest (such as fee simple, tenancy by
                                                                                                                            the entireties, or a life estate), If known.
                                                                     Who has an interest in the property? Check one.
                                                                     •   Debtor 1 only
            County
                                                                     •   Debtor 2 only
                                                                     •   Debtor 1 and Debtor 2 only                         0   Check if this is community property
                                                                     •   At least one of the debtors and another
                                                                                                                                (see instructions)


                                                                     Other Information you wish to add about this Item, such as local
                                                                     property Identification number: _ _ _ _ _ _ _ _ _ _ _ _ __




Iif&         Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   •   No
   Ga Yes

    3.1.    Make:                        Toyota                      Who has an Interest In the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on Schedule D:
            Model:                       Corolla                     !ill Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                         2013                        • Debtor 2 only
            Year:
                                         115613
                                                                     • Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
            Approximate mileage:                                     • At least one of the debtors and another              entire property?          portion you own?

            Other information:
                                                                                                                                   4000.00
                                                                                                                            $_ _ _ _ _ __                    4000.00
                                                                     • Check If this is community property (see                                       $_ _ _ _ _ __

                                                                         instructions)



   If you own or have more than one, describe here:

    3.2.    Make:                                                    Who has an Interest In the property? Check one.        Do not deduct secured claims or exemptions. Put

            Model:                                                   • Debtor 1 only                                        the amount of any secured claims on Schedule D:
                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                     • Debtor 2 only
            Year:
                                                                     • Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
            Approximate mileage:                                     • At least one of the debtors and another              entire property?          portion you own?

            Other information:
                                                                     • Check if this Is community property (see             $_ _ _ _ _ __             $_ _ _ _ _ __

                                                                         instructions)




 Official Form 106A/B                                                 Schedule A/8: Property                                                                  page 2
                                  Case 19-27024-LMI                 Doc 1         Filed 12/23/19             Page 13 of 56
Debtor 1        Mark               Anthony                    McDonald                             Case number (Wknownlc..--_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name       Middle Name      Last Name




                                                              Who has an Interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
   3.3.    Make:

           Model:
                                                              •  Debtor 1 only
                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                              •  Debtor 2 only
           Year:
                                                              •  Debtor 1 and Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate rr.ileage:                             •  At least one of the debtors and another
                                                                                                                  entire property?          portion you own?

            Other information:
                                                              • Check If this Is community property        (see
                                                                                                                  $_ _ _ _ __               $_ _ _ _ _ __

                                                                 instructions)


                                                              Who has an Interest In the property? Check one.     Do not deduct secured claims or exemptions. Put
   3.4.     Make:

            Model:
                                                              •  Debtor 1 only
                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                              •  Debtor 2 only
           Year:
                                                              •  Debtor 1 and Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:                               •  At least one of the debtors and another
                                                                                                                  entire property?          portion you own?

            Other information:
                                                                                                                  $_ _ _ _ __               $_ _ _ _ __
                                                              • Check if this is community property        (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   iia    No
   •      Yes


   4.1.     Make:
                                                              Who has an Interest In the property? Check one.     Do not deduct secured claims or exemptions. Put

            Model:                                            •  Debtor 1 only
                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                              •  Debtor 2 only
            Year:
                                                              •  Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
            Other information:                                •  At least one of the debtors and another          entire property?          portion you own?


                                                              • Check If this Is community property        (see   $_ _ _ _ _ __             $_ _ _ _ _ _ _
                                                                 instructions)



   If you own or have more than one, list here:

   4.2.     Make:                                             Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put

            Model:                                            •  Debtor 1 only
                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                              •  Debtor 2 only
            Year:
                                                              •  Debtor 1 and Debtor 2 only
                                                                                                                  Current value of the      Current value of the
            Other information:                                •  At least one of the debtors and another
                                                                                                                  entire property?          portion you own?

                                                                                                                  $_ _ _ _ _ _ _
                                                              • Check If this Is community property        (see
                                                                                                                                            $_ _ _ _ _ __

                                                                 instructions)




 Official Form 106A/B                                          Schedule A/8: Property                                                               page 3
                                           Case 19-27024-LMI                                   Doc 1               Filed 12/23/19                         Page 14 of 56
 Debtor 1          Mark                      Anthony                                 McDonald                                                Case number (Klmown),_ _ _ _ _ _ _ _ _ _ _ _ __
                     firBINam•             -Nam•                       Last Name




•f i             Describe l''our Personal and Household Items
                                                                                                                                                                                                   Current value of the
Do you own or have a11,y legal or equltabl• Interest In any of the following Items?                                                                                                                portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
6. Household goods and furnishings
     Examples: Major ap~~iances, furniture, linens, china, kitchenware
    •liZI Yes.
          No
               Describe.........           Dir:iing table, Tv stand, bedroom & living room furniture                                                                                                       250.00
                                                                                                                                                                                                     $
                                                                                                                                                                                                      --------
7. Electronics
     Examples: Televisi011s and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                     collections; electronic devices including cell phones, cameras, media players, games

    •       No
     liZI   Yes. Describe ..........      Tv, computer, printer                                                                                                                                      $                 350.00
                                                                                                                                                                                                      --------
8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     li2I   No
    •       Yes. Describe ........ ..                                                                                                                                                                $_ _ _ _ _ _ __


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicydes, pool tables, golf dubs, skis; canoes
                     and kayaks; carpentry tools; musical instruments
    li2I    No
    •       Yes. Describe ........ .                                                                                                                                                                 $_ _ _ _ _ _ __


10. Firearms
    Examples: Pistols, dies, shotguns, ammunition, and related equipment
    liZI No
    •       Yes. Describe ..........                                                                                                                                                                 $_ _ _ _ _ _ __

11.Clothes
    Examples: Everyda~f dothes, furs, leather coats, designer wear, shoes, accessories
    •liZI Yes.
          No
               Describe .......... Everyday clothes and shoes
                                                                                                                                                                                                     $                 150.00
                                                                                                                                                                                                      --------
12.Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    li2I    No
    •       Yes. Describe ..........                                                                                                                                                                $_ _ _ _ _ __

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     liZI   No
    •       Yes.Describe ......... ..                                                                                                                                                               $._ _ _ _ _ _ __


14.Any other personal and household Items you did not already list, Including any health aids you did not list

     li2I   No
    •       Yes. Give specific                                                                                                                                                                      $_ _ _ _ _ _ _ _
            information .............. .

15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached
    for Part 3. Write that number here ....................................................................................................................................................   -+
                                                                                                                                                                                                    s_ _ _ _1_s_o_.o_o            I
 Official Form 106A/B                                                                  Schedule A/8: Property                                                                                                   page4
                                              Case 19-27024-LMI                                           Doc 1                  Filed 12/23/19                                Page 15 of 56
Debtor 1           Mark                         Anthony                                       McDonald                                                        Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ __
                      FntName                Middle Name                      Last Name




•iii            Describe 'four Flnanclal Allsets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                       Current value of the
                                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                                  or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   •     No
   0     Yes ...............................................................................................................................................................      Cash: .......................    $_ _ _ _ _340.00
                                                                                                                                                                                                                              _ __



17. Deposits of money
    Examples: Checkinfl, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and othe1· similar institutions. If you have multiple accounts with the same institution, list each.

   •     No
   0     Yes .................... .                                                                Institution name:


                                               17.1. Checking account:                             Navy Federal                                                                                                    s._ _ _ _1_2_.o_o
                                               17.2. Checking account:                             Navy Federal                                                                                                    $_ _ _ _ _ __ 0

                                               17.3. Savings account:                              Navy Federal                                                                                                    $._ _ _ _ _ _ _0
                                                                                                                                                                                                                                  _

                                               17.4. Savings account:                                                                                                                                              $_ _ _ _ _ _ __

                                               17.5. Certificates of deposit:                                                                                                                                      $_ _ _ _ _ _ __

                                               11.s. Other financial account:                      Capital One 360 Checking                                                                                        s_ _ _ _3_.o_o
                                               17.7. Other financial account:                                                                                                                                      $_ _ _ _ _ _ __

                                               17.8. Other financial account:                                                                                                                                      $_ _ _ _ _ _ _

                                               17.9. Other financial account:                                                                                                                                       $_ _ _ _ _ __




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   all   No
   0     Yes ................ .                Institution or issuer name:

                                                                                                                                                                                                                    $_ _ _ _ _ _ __
                                                                                                                                                                                                                    $_ _ _ _ _ __
                                                                                                                                                                                                                    $_ _ _ _ _ _ __




19. Non-publlcly traded stock and Interests In Incorporated and unincorporated businesses, Including an Interest In
   an LLC, partnership, and joint venture

   0     No                                    Name of entity:                                                                                                                    % of ownership:
   0     Yes. Give specific                                                                                                                                                       _0_0A_o___%                       $_ _ _ _ _ _ _
         information aboJt
         them ........................ .                                                                                                                                          _0_%___%                          $_ _ _ _ _ _ _ _
                                                                                                                                                                                  _O_o/c_o_ _ _%                    $_ _ _ _ _ _ __




 Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                         page 5
                                          Case 19-27024-LMI                        Doc 1          Filed 12/23/19   Page 16 of 56
Debtor 1           Mark                    Anthony                           McDonald                        Case number<"lmownl,_ _ _ _ _ _ _ _ _ _ _ _ _ __
                      Fn!Name             Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instrumeots include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   liZI   No
   •      Yes. Give specific              Issuer name:
          information about                                                                                                                $_ _ _ _ _ __
          them ...................... .
                                                                                                                                           $_ _ _ _ _ __
                                                                                                                                           $_ _ _ _ _ __



21. Retirement or pen11lon accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   •      No
   liZI   Yes. List each
          account separately.             Type of account:           Institution name:

                                          401 (k) or similar plan:   AIG                                                                   $- - - -8000.00
                                                                                                                                                    ---
                                                                                                                                           $._ _ _ _ _ __
                                          Pension plan:

                                          IRA:                                                                                             $_ _ _ _ _ _ _ _

                                          Retirement account:        Nationwide                                                            s____7o_o_.o_o
                                                                                                                                           $_ _ _ _ _ __
                                          Keogh:

                                          Additional account:                                                                              $_ _ _ _ _ _ __

                                          Additional account:                                                                              $._ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   ~ No
   •      Yes ..................... .                           Institution name or individual:

                                          Electric:                                                                                        $._ _ _ _ _ _ __
                                          Gas:                                                                                             $._ _ _ _ _ _ __
                                          Heating oil:                                                                                     $._ _ _ _ _ _ __
                                           Security deposit on rental unit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                 $._ _ _ _ _ _ __
                                           Prepaid rent:                                                                                   $._ _ _ _ _ _ __
                                          Telephone:                                                                                       $._ _ _ _ _ _ __
                                          Water:                                                                                           $._ _ _ _ _ _ _ __
                                          Rented furniture:                                                                                $._ _ _ _ _ _ __
                                           Other:                                                                                          $._ _ _ _ _ _ __


23.Annulties (A contract for a periodic payment of money to you, either for life or for a number of years)
   liZI    No
   •      Yes..........................    Issuer name and description:
                                                                                                                                           $_ _ _ _ _ _ _ _

                                                                                                                                           $. _ _ _ _ _ __
                                                                                                                                           $._ _ _ _ _ __


 Official Form 106A/B                                                         Schedule A/B: Property                                                 page 6
                                          Case 19-27024-LMI                        Doc 1       Filed 12/23/19            Page 17 of 56
Debtor 1           Mark                       Anthony                         McDonald                           Case number (tknown)c...__ _ _ _ _ _ _ _ _ _ _ __
                      FintName             Middle Name            Last Name




24. Interests In an edui:atlon IRA, In an aqcount in a qualified ABLE program, or under a quallfled state tuition program.
   26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
   !ill   No
   •      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                           $_ _ _ _ _ __

                                                                                                                                                           $._ _ _ _ _ __
                                                                                                                                                           $._ _ _ _ _ __


25. Trusts, equitable or future Interests In property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   ~ No
   •      Yes. Give specific
                                                                                                                                                           $,_ _ _ _ _ __
          information about them ....


26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

   !ill   No
   •      Yes. Give specific
                                                                                                                                                           $._ _ _ _ _ __
          information about them ....


27. Licenses, franchises, and other general Intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   !ill   No
   •      Yes. Give specific
                                                                                                                                                           $._ _ _ _ _ __
          information about them ....


Money or property owed to you?                                                                                                                             Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           daims or exemptions.

28. Tax refunds owed to you

   !ill   No
   •      Yes. Give specific information
                                                                                                                                 Federal:              $_ _ _ _ _ __
               about them, including whether
               you already filed the returns                                                                                     State:                $_ _ _ _ _ __
               and the tax years ...................... ..
                                                                                                                                 Local:                $_ _ _ _ _ __



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   !ill   No
   •      Yes. Give specific information ............. .
                                                                                                                                Alimony:                   $_ _ _ _ _ __
                                                                                                                                Maintenance:               $_ _ _ _ _ __
                                                                                                                                Support:                   $._ _ _ _ _ __
                                                                                                                                Divorce settlement:        $_ _ _ _ _ __
                                                                                                                                Property settlement:       $._ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                     Social Security benefits; ul'1)aid loans you made to someone else
   ~ No
   •      Yes. Give spec:ific information ............. ..
                                                                                                                                                           $._ _ _ _ _ _ __



Official Form 106NB                                                            Schedule A/B: Property                                                                page 7
                                          Case 19-27024-LMI                                    Doc 1               Filed 12/23/19                         Page 18 of 56
 Debtor 1          Mark                      Anthony                                 McDonald                                                Case number(Kknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name           Middle Name                 last Name




31. Interests In insura11,ce policies
     Examples: Health, d•sability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     liZI   No
     0      Yes. Name the insurance company            Company name:                                                                             Beneficiary:                                       Surrender or refund value:
                 of each policy and list its value ...
                                                                                                                                                                                                    $_ _ _ _ _ __
                                                                                                                                                                                                    $_ _ _ _ _ _ __
                                                                                                                                                                                                    $._ _ _ _ _ __

32. Any Interest in pro,perty that Is due you from someone who has died
    If you are the benefi ::iary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because sc,meone has died.
     ~ No
     0      Yes. Give speci1ic information ............. .
                                                                                                                                                                                                    $_ _ _ _ _ _ __


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     ~ No
     0      Yes. Describe each claim .....................
                                                                                                                                                                                                    $_ _ _ _ _ _ __

34. Other contingent and unliquldated claims of every nature, Including counterclaims of the debtor and rights
    to set off claims
     ~ No
     0      Yes. Describe each claim ................... ..
                                                                                                                                                                                                    $_ _ _ _ _ _ __




35. Any financial assets you did not already 11st

     ~ No
     0      Yes. Give specific information ............                                                                                                                                             $_ _ _ _ _ _ __



36. Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached
    for Part 4. Write that number here ....................................................................................................................................................   +                    9055.00



                  Describe Any Busine. .Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
     ~ No. Go to Part 6.
     0      Yes. Go to line 38.

                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured daims
                                                                                                                                                                                                  or exemptions.

38. Accounts receivable or commissions you already earned
     ~ No
     0      Yes. Describe .......
                                                                                                                                                                                                  $._ _ _ _ _ _ _ __

39. Office equipment, furnishings, and supplies
    Examples: Buslness-1elated computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     ~ No
     0      Yes. Describe .......                                                                                                                                                                 $_ _ _ _ _ _ _ __




 Official Form 106A/B                                                                   Schedule A/8: Property                                                                                                  page 8
                                            Case 19-27024-LMI                 Doc 1      Filed 12/23/19   Page 19 of 56
Debtor 1         Mark                        Anthony                     McDonald                  Case number (Kknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name                               Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   Iii   No
   •     Yes. Describe ...... .                                                                                                   $_ _ _ _ _ _ _ __



41. Inventory
   (;a No
   •     Yes. Describe ..... .                                                                                                    $_ _ _ _ _ _ __



42. Interests In partnerships or joint ventures
   Iii No
   •     Yes. Describe.......              Name of entity:                                                      % of ownership:
                                                                                                                _ _ _%            $_ _ _ _ _ _ _ __
                                                                                                                _ _ _%            $_ _ _ _ _ _ _ __
                                                                                                                _ _ _%            $_ _ _ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
   (;a No
   •     Yes. Do your lists Include personally Identifiable Information (as defined in 11 U.S.C. § 101(41A))?

                •      No
                •      Yes. Doscribe....... .
                                                                                                                                  $_ _ _ _ _ _ _ __


44. Any business-related property you did not already list
   (;a No
   •     Yes. Give specific                                                                                                       $_ _ _ _ _ _ __
         information ........ .
                                                                                                                                  $_ _ _ _ _ _ __

                                                                                                                                  $_ _ _ _ _ _ _ __

                                                                                                                                  $_ _ _ _ _ _ _ __
                                                                                                                                   $_ _ _ _ _ _ _ __

                                                                                                                                   $._ _ _ _ _ _ __




                 Describe Any Fann- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   GI    No. Go to Part 7.
   •     Yes. Go to line 47.
                                                                                                                                  Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured claims
                                                                                                                                  or exemptions.
47. Farm animals
   Examples: Livestod<, poultry, farm-raised fish

   Iii   No
   •     Yes ......................... .

                                                                                                                                    $_ _ _ _ _ _ __



 Official Form 106A/B                                                     Schedule A/8: Property                                               page 9
                                               Case 19-27024-LMI                                    Doc 1                Filed 12/23/19                           Page 20 of 56
 Debtor 1             Mark                      Anthony                                 McDonald                                                   Gase number(Wknown,...__ _ _ _ _ _ _ _ _ _ _ __
                        Finl Name             MiddleName                  Last Name




48. Crops--4tlther growing or harvested
     liZI   No
     •      Yes. Give specific
                                                                                                                                                                                                           $_ _ _ _ _ _ _ _
            information ........... .

49. Farm and fishing equipment, Implements, machinery, fixtures, and tools of trade
     liZI   No
     •      Yes ........................ ..
                                                                                                                                                                                                           $_ _ _ _ _ _ __


50. Farm and fishing supplies, chemicals, and feed
     liZI   No
     •      Yes ........................ ..
                                                                                                                                                                                                           $_ _ _ _ _ _ __

51.Any farm- and commercial fishing-related property you did not already list
     liZI   No
     •      Yes. Give specific
                                                                                                                                                                                                           $_ _ _ _ _ _ __
            information ........... ..

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                           $
                                                                                                                                                                                                                          0.00
    for Part 6. Write that number here ....................................................................................................................................................       +        --------


                     Describe All Property You Own or Have an Interest In That You Did Not List Above

53. Do you have other property of any kind you did not already llst?
     Examples: Season tickets, country dub membership

     liZI   No
                                                                                                                                                                                                               $_ _ _ _ _ __
     •      Yes.Give specific
                                                                                                                                                                                                               $_ _ _ _ _ __
            information ........... .
                                                                                                                                                                                                               $_ _ _ _ __


                                                                                                                                                                                                  +            $         0.00
54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                          -------


•if:¥               List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ..............................................................................................................................................................   +   $._ _230,000.00
                                                                                                                                                                                                                _ _ _ __

56.Part 2: Total vehicles, line 5                                                                                         4000.00
                                                                                                                   $_ _ _ _ _ __


57.Part 3: Total personal and household Items, llne 15                                                             $_ _ _ _750.00
                                                                                                                            _ __


58. Part 4: Total flnanclal assets, line 36                                                                               9055.00
                                                                                                                   $_ _ _ _ _ __

                                                                                                                                            0.00
59.Part 5: Total business-related property, line 45                                                                $
                                                                                                                     -------
60. Part 6: Total farm- and fishing-related property, line 52                                                      $
                                                                                                                                            0.00
                                                                                                                     -------
61.Part 7: Total other property not listed, line 54                                                             +$                          0.00
                                                                                                                     ------
62. Total personal property. Add lines 56 through 61 ................... ..                                         $
                                                                                                                                 13,so5 .00            Copy personal property total                    + + $- - -13,805.00
                                                                                                                                                                                                                  ----


63. Total of all property on Schedule A/B, Add line 55 + line 62 ..........................................................................................                                                     243,805.00
                                                                                                                                                                                                           $_ _ _ _ _ __




 Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                   page 10
                                           Case 19-27024-LMI                 Doc 1          Filed 12/23/19            Page 21 of 56

 F11I   11 this 111form,1t1 111 to 1de11t1fy you, ~ase



  Debtor 1             Mark                 Anthony                  McDonald
                        FlntNam,                      l\ljddleName              Last Name

  Debtor2
 (Spouse, If filing)    First Nam,                    Mi:ld1eNem•               Last Name


 United States Bankruptcy Court for the:Southem District of Florida

 Case number                                                                                                                                     0   Check if this is an
  (If known)
                                                                                                                                                     amended filing



Official Form 106C
Schedule! C: The Property You Claim as Exempt                                                                                                                  04/19

Be as complete and ac:curate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property yoll listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each Item of property you clalm as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any appllcable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited In dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property Is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


f§fI              Identify the Property You Clalm as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
        ~   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
        •   You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you 11st on Schedule A/8 that you claim as exempt, fill In the information below.


        Brief description of the property and line on                Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
        Schedule A/B that lists this property                        portion you own
                                                                     Copy the value from     Check only one box for each exemption.
                                                                     Schedule AtB

                                                                                                                                      11 U.S.C. § 522(b)(3)
        Brief
        description:
                                     Home                            $230,00.00              •    $ _ _ __

        Line from
                                                                                              liZI 100% of fair market value, up to
        Schedule AIB:                2                                                            any applicable statutory limit


                                                                                                                                      11 U.S.C. § 522(b)(3)
        Brief
        description:
                                     Car                             $4000.00                 •   $ _ _ __

        Line from     L_
                                                                                              liZI 100% of fair market value, up to
        Schedule AIB:                                                                             any applicable statutory limit

        Brief                                                                                                                         11 U.S.C. § 522(b)(3)
        description:
                                     Personal & Household            $750.00                  liZI $ 750. 00
        Line from                                                                             •   100% of fair market value, up to
        Schedule AIB: .15.._                                                                      any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

        ~   No
        •   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            •          No
            •          Yes



Official Form 106C                                                   Schedule C: The Property You Clalm as Exempt                                          page 1 of_
                                  Case 19-27024-LMI                  Doc 1       Filed 12/23/19             Page 22 of 56
              Mark                Anthony               McDonald                                  Case number (Wlcnown)c__ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
              First Name        Middle Name     Last Name




•Iii         Additional Page
                                                        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
      Brief description of the property and line
      on Schedule A/S that lists this property          portion you own

                                                        Copy the value from      Check only one box for each exemption
                                                        Schedule AIB
                                                                                                                           11 U.S.C. § 522(b)(3)
      Brief                Money & Retirement               $          9055.oo   GI s - -9055.00
                                                                                         ---
      description:
      Line from            36
                                                                                 •     100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief
      description:         ---------                        $._ _ _ _ _ __
                                                                                  • s ____
      Line from
                                                                                  • 100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief                                                 $_ _ _ _ _ _          •    $ _ _ __
      description:
      Line from
                                                                                  •    100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief                                                 $_ _ _ _ _ __         • s ____
      description:
      Line from
                                                                                  • 100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief                                                 $_ _ _ _ _ _          • s ____
      description:
      Line from
                                                                                  • 100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief                                                 $_ _ _ _ __           • s ____
      description:
      Line from
                                                                                  • 100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief
      description:
                                                            $_ _ _ _ _ __         • s ____
      Line from
                                                                                  • 100% of fair market value, up to
                                                                                       any applicable statutory limit
      Schedule AIB:

      Brief
      description:
                                                            $_ _ _ _ __           • s ____
       Line from
                                                                                  • 100% of fair market value, up to
                                                                                       any applicable statutory limit
       Schedule AIB:


       Brief                                                 $_ _ _ _ __          • s ____
       description:
       Line from
                                                                                  • 100% of fair market value, up to
                                                                                        any applicable statutory limit
       Schedule AIB:

       Brief
       description:
                                                             $_ _ _ _ _ __         •    s ____
       Line from
                                                                                   •    100% of fair market value, up to
                                                                                        any applicable statutory limit
       Schedule A/B:

       Brief
       description:
                                                                $._ _ _ _ __       •    s ____
       Line from
                                                                                   •    100% of fair market value, up to
                                                                                        any applicable statutory limit
       Schedule A/B:

       Brief
       description:
                                                                $._ _ _ _ _ __     • s ____
       Line from
                                                                                   • 100% of fair market value, up to
                                                                                        any applicable statutory limit
       Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                     page£_of_
                                    Case 19-27024-LMI                           Doc 1         Filed 12/23/19              Page 23 of 56

  Fill 111 this 1nformat10 1 to 1dent1fy your c 1se


  Debtor 1             Mark                  Anthony                          McDonald
                       FinllName                 MkicieName                     Last Name

  Debtor2
  (Spouse, K filing)   First Nome                Midcle Name                    Last Name


  United States BankruptC)I Court for the: Southern District of Florida

  Case number
  "'"""""")                                                                                                                                        D Check if this is an
                                                                                                                                                      amended filing


  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  lnfonnatlon. If more 11pace Is needed, copy the Addltlonal Page, fill it out, number the entries, and attach It to this form. On the top of any
  additional pages, write your name and case number (if known).


 1. Do any creditors have claims secured by your property?
     D        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
     61 Yes. Fill in all of the information below.
•¥81              List All Secured Claims
                                                                                                          Column A                         ColumnB               Column C
 2. List all secured clalms. If a creditor has more than one secured claim, list the creditor separately Amount of claim                   Value of collateral   Unsecured
    for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                that supports this    portion
    As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.             claim                 If any

W      PHH Mortgage Service                                Describe the property that secures the claim:                  $   427,591.00     s   230,000.00 $197,591.00
       Creditor's Name
                                    Property located at 11300 SW 179th St, Miami
     -  -
     Number
            - -  -
               Street
                      - - - - - - - FL33157

       P.O. Box 5452                                       As of the date you file, the claim Is: Check all that apply.
                                                           D     Contingent
       Mt. Laurel                   NJ      08054          •     Unliquidated
       City                         State   ZIP Code
                                                           •     Disputed
   Who owes the debt? Check one.                           Nature of lien. Check all that apply.
    !al   Debtor 1 only                                    !al   An agreement you made (such as mortgage or secured
   •      Debtor 2 only                                          car loan)
   •      Debtor 1 and Debtor 2 only                       •     Statutory lien (such as tax lien, mechanic's lien)
   •      At least one of the debtors and another          •     Judgment lien from a lawsuit

   D  Check If this claim relates to a
                                                           •     Other (including a right to offset) _ _ _ _ _ _ __

      community debt
   Date debt was incurred 09/28/2006                       Last 4 digits of account number             2   _!_ ~ 2
Ll1l Leoni Roberts                                         Describe the property that secures the claim:                  $     37,000.00 $_ _ _ _ _ _ $_ _ __
       Creditor's Name
              SW          h St                     Property located at 11300 W 179th t, Miami
                                                                                                S            S
       8441        1441
       , - -
       Number
             , - - - - -
                   Street
                          - -  , - - - - - - - - - FL 33157
                                                           As of the date you file, the claim Is: Check all that apply.
                                                           0     Contingent
       Miami                        FL      33158          •     Unliquidated
       City                         State   ZIP Code
                                                           •     Disputed
   Who owes the debt? Check one.                           Nature of Hen. Check all that apply.
    !al   Debtor 1 only                                    D     An agreement you made (such as mortgage or secured
   •      Debtor 2 only                                          car loan)
   •      Debtor 1 and Debtc,r 2 only                      •     Statutory lien (such as tax lien, mechanic's lien)
   •      At least one of the debtors and another          •     Judgment lien from a lawsuit
                                                           !al   Other (including a right to offset)   2nd Mortgage
   •   Check If this clal111 relates to a
       community debt
    Date debt was Incurred 09/28/2006                      Last 4 digits of account number _               __ _
       Add the dollar value of your entries In Column A on this page. Write that number here:                                  464.591.001

  Official Form 1060                                Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of_
                                     Case 19-27024-LMI                      Doc 1           Filed 12/23/19               Page 24 of 56

Debtor 1           Mark                       Anthony                     McDonald                                Case number (I known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name     Middle Name         last Name




                   ____________________________
                                                                                                                          Column A                Columns                   Co/umnC
                 Addltlonal Page
                                                                                                                          Amount of claim '       Value of collateral       Unsecured
                 After listing .any entries on this page, number them beginning with 2.3, followed                                                that supports this        portion
                .._
                  by 2.4, and 10 forth.
                                                                                                                          Do not deduct the
                                                                                                                                                  clalm
                                                                                                                          value of collateral .                             If any

                                                        Describe the property that secures the clalm:                    $                          $                   $
        Creditor's Name


        Number            Street


                                                        As of the date you file, the claim Is: Check all that apply.
                                                        •    Contingent
        City                        State    ZIP Code   •    Unliquidated
                                                        •    Disputed

    Who owes the debt? Check one.                       Nature of llen. Check all that apply.

    •     Debtor 1 only
                                                        •    An agreement you made (such as mortgage or secured
    •     Debtor 2 only                                      car loan)

    •     Debtor 1 and Debtor 2 only                    •    Statutory lien (such as tax lien, mechanic's lien)

    •     At least one of the debtors and another       •    Judgment lien from a lawsuit


    •     Check if this claim relates to a
                                                        •    Other (including a right to offset)

          community debt

    Date debt was incurred                              Last 4 digits of account number _            ___



•       CredttOf's Name
                                                        Describe the property that secures the claim:                    $                          $                   $


        Number            Street

                                                        As of the date you file, the claim Is: Check all that apply.
                                                        •    Contingent
                                                        •    Unliquidated
        City                        State    ZIP Code
                                                        •    Disputed
    Who owes the debt? Check one.
                                                        Nature of llen. Check all that apply.
    •     Debtor 1 only
                                                        •    An agreement you made (such as mortgage or secured
    •     Debtor 2 only                                      car loan)
    •     Debtor 1 and Debtor 2 only
                                                        •    Statutory lien (such as tax lien, mechanic's lien)
    •     At least one of the d,IDtors and another
                                                        •    Judgment lien from a lawsuit

    •     Check if this claim relates to a              •    Other (including a right to offset)

          community debt

    Date debt was Incurred                              Last 4 digits of account number _            ___



•       CredltOf's Name
                                                        Describe the property that secures the clalm:                    $                          $                   $


        Number            Street


                                                        As of the date you file, the claim ls: Check all that apply.
                                                        •    Contingent
        City                        State    ZIP Code   •    Unliquidated
                                                        •    Disputed
    Who owes the debt? Gheck one.                       Nature of lien. Check all that apply.
    •     Debtor 1 only                                 •    An agreement you made (such as mortgage or secured
    •     Debtor 2 only                                      car loan)
    •     Debtor 1 and Debto• 2 only                    •    Statutory lien (such as tax lien, mechanic's lien)
    •     At least one of the debtors and another       •    Judgment lien from a lawsuit
                                                        •    Other (including a right to offset) _ _ _ _ _ _ __
    •     Check if this claim relates to a
          community debt
    Date debt was Incurred _ _ _ __                     Last 4 digits of account number _            __ _

               Add the dollar value of your entries in Column A on this page. Write that number here:                    is
               If this Is the last page of your form, add the dollar value totals from all pages.                        r==4=64==,5=9=1=.0=0=i,·
               Write that number here:                                                                                   1.:.$-======:=1:
Official Form 1060                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page_of_
                                   Case 19-27024-LMI                 Doc 1            Filed 12/23/19           Page 25 of 56
, Fill 1n this 1nfor1nJt10•1 to 1clent1fy your c ,,se


   Debtor 1           Mark              Anthony                     McDonald
                                               Middle Name                LaslName

   Debtor2
   (Spouse, if fling) First Nome               MiddleName                 L.aatName


   United States Bankruptcy Court for the: Southern District of Florida

   Case number
                                                                                                                                           •   Check if this is an
    (If known)                                                                                                                                 amended filing


 Official Form 106E/F
 Schedule El/F: Creditors Who Have Unsecured Claims                                                                                                      12/15
 Be as complete and a1:curate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result In a claim. Also 11st executory contracts on Schedule
 A/8: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not Include any
 creditors with partiallir secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space Is
 needed, copy the Part you need, fill It out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

f§fI                Ust All   ot· Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
      ia No. Go to Part 2.
      • Yes.
 2. List aU of your priority unsecured cl1lms. If a creditor has more than one priority unsecured claim, list the cr~itor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonprlorlty amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, 11st the claims In alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the ContlnuaUon Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the Instructions for this form in the Instruction booklet.)
                                                                                                                                          Priority
                                                                                                                                          amount
E] ________                                                     Last 4 digits of account number _         _    _    _          $_ _ _ _ _ $._ _ _ _ $_ _ __
        Priority Creditor's Name
                                                                When was the debt incurred?
        Number           Street

                                                                As of the date you file, the clalm Is: Check all that apply,

        City                          Stale     ZIP Code
                                                                0   Contingent
                                                                0   Unliquidated
        Who Incurred the debt? Check one.                       0   Disputed
        0 Debtor 1 only
        0 Debtor 2 only                                         Type of PRIORITY unsecured claim:
        0 Debtor 1 and Debtor 2 only                            D   Domestic support obligations
        D At least one of the debtors and another               0   Taxes and certain other debts you c:,we the government
        D      Check If this claim Is for a community debt      •   Claims for death or personal injury while you were
        Is the claim subject to offset?                             intoxicated
        0      No
                                                                0   Other. Specify _ _ _ _ _ _ _ _ _ _ __

        D Yes
.--,-::::::....;~--    --- -~--------
~ ------------------
        Priorily Creditor's Namo
                                                                Last 4 digits of account number _
                                                                When was the debt Incurred?
                                                                                                          _    _     _         $_ _ _ _ _ $_ _ _ _ $_ _ __


        Number           Street
                                                                As of the date you file, the clalm Is: Check all that apply.
                                                                D   Contingent
        City                          State     ZJP Code        D   Unliquidated
        Who Incurred the debt? Check one.                       •   Disputed
        0 Debtor 1 only                                         Type of PRIORITY unsecured claim:
        0 Debtor 2 only
                                                                0   Domestic support obligations
        0 Debtor 1 and Dobtor 2 only
        0 Al least one of trie debtors and another              0   Taxes and certain other debts you owe the government
                                                                0   Claims for death or personal injury while you were
        D Check If this claim Is for a community debt               intoxicated
        Is the claim subject to offset?                         D   Other. Specify _ _ _ _ _ _ _ _ _ _ __
        D      No
        D      Yes

 Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       page 1 of   J!....
Debtor 1           Mark            Case 19-27024-LMIMcDonald
                                     Anthony          Doc 1                           Filed 12/23/19     Page
                                                                                                  case number    26 of
                                                                                                              (If_,,_  56
                                                                                                                     _____________ _
                   FimName                             Last Name


ff •H              Your PRIORITY Unsecured Claims - Continuation Page

 After listing any entries on this page, nurnber them beginning with 2.3, followed by 2.4, and so forth.                          T           Priority
                                                                                                                                              amount


•     Priolity Creditor's Name
                                                                   Last 4 digits of account number _ _ _ _
                                                                                                                                  $._ _ _ _ _ $,_ _ __   $._ _ _ __


                                                                   When was the debt incurred?
      Number           Street

                                                                   As of the date you file, the claim Is: Check all that apply.

                                                                   •   Contingent
      City                              State     ZFCode           •   Unliquidated
                                                                   •   Disputed
      Who Incurred the ,:lebt? Check one.
      •      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      •      Debtor 2 only
                                                                   D
      •      Debtor 1 and Debtor 2 only
                                                                   D
                                                                       Domestic support obligations
                                                                       Taxes and certain other debts you awe the government
      •      At least one of the debtors and another
                                                                   D   Claims for death or personal injury while you were
      •      Check If this claim Is for a community debt
                                                                   •
                                                                       intoxicated
                                                                       Other. Specify _ _ _ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      •      No
      •      Yes

D                                                                  Last 4 digits of account number _ _ _ _
                                                                                                                                  $._ _ _ _ _ $._ _ __   $_ _ _ __
      Priolity Credttor's Name

                                                                   When was the debt Incurred?
      Number           Street

                                                                   As of the date you file, the claim Is: Check all that apply.

                                                                   D   Contingent
      City                              State     ZIP Code         •   Unliquklated
                                                                   D   Disputed
      Who Incurred the debt? Check one.
      D      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      •      Debtor 2 only
                                                                   •
      •      Debtor 1 and Debtor 2 only
                                                                   D
                                                                       Domestic support obligations
                                                                       Taxes and certain other debts you awe the government
      D      At least one of the debtors and another
                                                                   •   Claims for death or personal injury while you were
      •      Check If this claim is for a community debt
                                                                   •   intoxicated
                                                                       Other. Specify _ _ _ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      •      No
      D Yes

•     Priority Credilor's Namo
                                                                   Last 4 digits of account number _ _ _ _
                                                                                                                                  $._ _ _ _ _ $._ _ __   $._ _ _ __


                                                                   When was the debt Incurred?
      Number           Street

                                                                   As of the date you file, the claim Is: Check all that apply.

                                                                   •   Contingent
      City                              State     ZIP Code         •   Unliquidated
                                                                   •   Disputed
      Who Incurred the debt? Check one.
      •      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      •      Debtor 2 only
                                                                   •
      •      Debtor 1 and Debtor 2 only
                                                                   •
                                                                       Domestic support obligations

      •      At least one of the debtors and another
                                                                   •
                                                                       Taxes and certain other debts you awe the government
                                                                       Claims for death or personal injury while you were
      •      Check If this c:lalm Is for a community debt          •   intoxicated
                                                                       Other. Specify _ _ _ _ _ _ _ _ _ _ __

      Is the claim subjttct to offset?
      •      No
      D      Yes


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page_lofJL
 Debtor 1           Mark              Case  19-27024-LMIMcDonald
                                        Anthony           Doc 1                    Filed 12/23/19     Page
                                                                                               Case number      27 of
                                                                                                           (lfknolm,_ 56_ _ _ _ _ _ _ _ _ __
                                                                                                                     __
                    FKSIName                               Last Name


fifj             Ust All of Your NON PRIORITY Unsecured Clalms

 3. Do any creditors h,1ve nonpriority unsecured claims against you?
     D No. You have netthing to report in this part. Submit this form to the court with your other schedules.
     iii Yes
 4. List all of your nonpriority unsecu3clalms In the alphabetical order of the creditor who holds each clal~. If a creditor has more than one
     nonprlority unsecured clalm, list the     itor separately for each claim. For each claim listed, Identify what type of ~aim It Is. Do not list claims already
     included in Part 1. If more than one      ltor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Totalclalm
~     Capital One                                                                 Last 4 digits of account number_!_             _i_ _§_ -1.._                $_ _ _ _612.91
                                                                                                                                                                       _ __
      Nonpriorily Creditor's Name

      P.O. Box 8501!5                                                             When was the         debt incurred?       12/14/2014
       Number           Street
       Richmond                                         VA             23285
       City                                             State          ZIP Code   As of the date you file, the claim Is: Check all that apply.
                                                                                  D       Contingent
      Who incurred the debt? Check one.                                           D       Unliquidated
      ii:I    Debtor 1 only                                                       D       Disputed
       D      Debtor 2 only
       D      Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
       D      At least one of the debtors and another                             D       Student loans

       D Check If this clalm Is for a community debt                              •       Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
      Is the claim subjec:t to offset?                                            D       Debts to pension or profit-sharing plans, and other similar debts
       IB"No                                                                      !iii'   Other.   Specify_C_r_e_d_it_ca_rd
                                                                                                                         _________
       0      Yes

                                                                                  Last 4 digits of accou~t number            8 ~- 3-·- 5- ~6-------,$ -~~~ ~--85§:23-
      Nonpriorily Creditor's Name                                                 When was the debt Incurred?               12/23/2014
      P.O. Box 85015
      Number            Street
      Richmond                                          VA             23285      As of the date you file, the claim Is: Check all that apply.
      City                                              State          ZIPCode
                                                                                  D       Contingent
      Who incurred the debt? Check one.                                           0       Unliquidaled

      ii:I    Debtor 1 only                                                       •       Disputed

       D      Debtor 2 only
       D      Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
       D      At least one of the debtors and another                             •       Student loans
                                                                                  D       Obligations arising out of a separation agreement or divorce
       D      Check If this claim is for a community       debt                           that you did not report as priority claims
      Is the claim subject to offset?                                             D       Debts to pension or profit-sharing plans, and other similar debts

       f!r"No
                                                                                  ii'     Other.   Specify_C_r_ed_i_t_ca_rd
                                                                                                                         _ _ _ _ _ _ _ __
      D       Yes

EJ CreditOne
      Nonpriorily Creditor's Name
                                                                                  Last 4 digits of account number _§_ _2. ~ _J_                                      828.00
                                                                                                                                                              $_ _ _ _ __
                                                                                  When was the         debt Incurred?       05/20/2015
      6801 S. Cimarron Road
      Number            Street
       Las Vegas                                        NV              89113
                                                                                  As of the date you file, the claim Is: Check all that apply.
      City                                              State          ZIP Code

      Who Incurred the           debt? Check one.
                                                                                  D       Contingent
                                                                                  D       Unliquidated
       liiil' Debtor 1 only                                                       D       Disputed
       D Debtor 2 only
      •       Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
       D Al least one of th-a debtors and another
                                                                                  D       Student loans
      •       Check If this claim Is for a community debt                         •       Obligations arising out of a separation agreement or di110rce
                                                                                          that you did not report as priority claims
      Is the clalm subJec.1 to offset?
       ct'No
                                                                                  •       Debts to pension or profit-sharing plans, and other similar debts
                                                                                  lil     Other.   Specify _C=rc..ae""d=it_;:C:;.:a=r=d________
       D      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page_1ot.!!._
 Debtor 1            Mark                Case  19-27024-LMIMcDonald
                                           Anthony           Doc 1                                 Filed 12/23/19     Page
                                                                                                               case number     28_____________
                                                                                                                           (11_,,, of 56       _
                     Fif&IName          Mickle Name           Last Name



~ R I O R I T Y Unsecured Claims - Continuation Page


  After listing any entrlet1 on this page, nui,,ber them beginning with 4.A, followed by 4.5, and so forth.                                                                     Totalclalm


B        Fingerhut/Webbank
         Nonpriority Creditor's Nar1e
                                                                                                      Last 4 digits     of account number __Q__

                                                                                                                                                  4/8/2015
                                                                                                                                                            l_ .!_ .!_          $   1935.00
                                                                                                      When was the debt Incurred?
        6250         Ridgewood Road
        Number            Street
                                                                                                     As of the date you file, the claim is: Check all that apply.
         Saint Cloud                                       MN              56303
        City                                               State          ZIP Code                    •     Contingent
                                                                                                      •     Unliquidated
        Who incurred the clebt? Check one.                                                            •     Disputed
         lil Debtor 1 only
        •      Debtor 2 only                                                                          Type of NONPRIORITY unsecured claim:
        •      Debtor 1 and Del:itor 2 only
                                                                                                      •     Student loans
        •      At least one of tho debtors and another
                                                                                                      •     Obligations arising out of a separation agreement or divorce that
        •      Check If this claim is for a community debt
                                                                                                      •
                                                                                                            you did not report as priority claims
                                                                                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                               IS    Other. specify Online store/ Credit card
         ~No
        •      Yes

0··•---------------·------·· •---·---------.---•------·· · --- .---····--··-··-·----- .-·- - -··-----·-- -----------·~----···--·----·
         Indigo Bank - Celtic Bank                                                                    Last 4 digits     of account number          ..!_ ~ J_ ~                  s    415.00
        Nonpriorily Creditor's Name
                                                                                                      When was the debt Incurred?                  01/15/2019
         P.O.     Box    4499
        Number            Street
                                                                                                      As of the date you file, the claim is: Check all that apply.
         Beaverton                                         OR              97076
        City                                               State          ZIP Code                    •     Contingent
                                                                                                      •     Unliquidated
        Who incurred the debt? Check one.
                                                                                                      •     Disputed
         iil Debtor 1 only
        •      Debtor 2 only                                                                          Type of NONPRIORITY unsecured claim:
        •      Debtor 1 and Debtor 2 only
                                                                                                      •     Student loans
        •      At least one of ttie debtors and another
                                                                                                      •     Obligations arising out of a separation agreement or divorce that
        •      Check if this claim is for a community debt
                                                                                                      •
                                                                                                            you did not report as priority claims
                                                                                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                               ii    Other. Specify.--'-C-'-re;;...;d:...it_C;;...a;;.;.;r.::d'-------
        r!/No
        • Yes
~---·--•·---------·---·-·-·-····-·------·---··•--·-----·-·---------·--·-·-·•---·---·,~·-·····--------····•---<a•"-----------------·-·--·-·---·        ·-·     ·-----··"-··---~--fa32~00
        Merrick Bank                                                                                  Last 4 digits of account number              2... ..I_ 2._ _§_
        Nonpriorily Creditor's Name
                                                                                                      When was the debt Incurred?                  10/ 16/2018
        P.O.      Box    9201
         Number           Street
                                                                                                      As of the date you file, the claim is: Check all that apply.
         Old Bethpage                                      NY              11804
        City                                               State          ZIPCode                     •     Contingent
                                                                                                      •     Unliquidated
        Who incurred the debt? Check one.
                                                                                                      •     Disputed
         Ml' Debtor 1 only
        •      Debtor 2 only                                                                          Type of NONPRIORITY unsecured claim:
        •      Debtor 1 and Dobtor 2 only
                                                                                                      •     Student loans
        •      At least one of the debtors and another
                                                                                                      •     Obligations arising out of a separation agreement or divorce that
        •      Check If this c:lalm Is for a community debt
                                                                                                      •
                                                                                                            you did not report as priority claims
                                                                                                            Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subjflCt to offset?                                                             iii   Other. Specity_C----'re'--d_it_C.;;_a.;;.r...cd=--------
         ~No
         •     Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                            page±_of~
                                     Case 19-27024-LMI                      Doc 1      Filed 12/23/19                Page 29 of 56
 Debtor 1          Mark                            Anthony                  McDonald                          Case number ("/mown),_ _ _ _ _ _ _ _ _ _ _ _ __
                    Fm Name          Middle Name          Last.Name



~ N P R I O R I T Y Unsecured Claims - Continuation Page


 After listing any entiies on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                            Total claim



§]    Comcast Cable/ Xfinity
      Nonpriority Credttor's 'lame
                                                                                        Last 4 digits of account number ~             i!_ _1__1_                   $   862.07
                                                                                        When was the debt incurred?             07/23/2019
      141 NW 16th St
      Number            Street
                                                                                        As of the date you file, the claim Is: Check all that apply.
      Pompano Beach                                    FL              33060
      City                                             State          ZIP Code          •      Contingent
                                                                                        •      Unliquidated
      Who Incurred the debt? Check one.
                                                                                        •      Disputed
      IJ Debtor 1 only
      •      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Clebtor 2 only
                                                                                        •
      •      At least one of the debtors and another
                                                                                        •
                                                                                               Student loans
                                                                                               Obligations arising out of a separation agreement or divorce that
      •      Check if this claim Is for a community debt
                                                                                        •
                                                                                               you did not report as priority claims
                                                                                               Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    lai   Other. specify_C_o_lle_cti_._o_n_ _ _ _ _ __
      lJ'No
      •      Yes



~     AT&T/ Uverse                                                                      Last 4 digits of account number ~ ~                 J_   ~                 $   345.73
      Nonpriority Creditor's Name
                                                                                        When was the debt Incurred?             09/02/2016
      P.O.      Box    5014
      Number            Slrllf>t
                                                                                        As of the date you file, the claim Is: Check all that apply.
      Carol Stream                                     IL              60197
      City                                             Stale          ZIPCode           •      Contingent
                                                                                        •      Unliquidated
      Who incurred the debt? Check one.
                                                                                        •      Disputed
      liJ    Debtor 1 only
      •      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Debtor 2 only
                                                                                        •
      •      At least one of the debtors and another
                                                                                        •
                                                                                               Student loans
                                                                                               Obligations arising out of a separation agreement or divorce that
      •      Check if this claim Is for a community debt
                                                                                        •
                                                                                               you did not report as priority claims
                                                                                               Debts to pension or profit-sharing plans, and other similar debts
      I~   "9 claim subject to offset?                                                  Iii    Other. Specity_C_ol_lecti_'_o_n_ _ _ _ _ __
      I!( No
      •      Yes



•     Progressive Leasing
      Nonpriority Creditor's Name
                                                                                        Last 4 digits of account number          JL ~ _1_ ~
                                                                                                                                                                   $._ _532.80
                                                                                                                                                                         _ __



                                                                                        When was the debt Incurred?             07/11/2018
      256 Data         Dr.
      Number           Slr8111
                                                                                        As of the date you file, the claim Is: Check all that apply.
      Draper                                           UT             84020
      City                                             Slate          ZIPCode           •      Contingent
                                                                                        •      Unliquidated
      Who Incurred the debt? Check one.
                                                                                        •      Disputed
      liJ    Debtor 1 only
      •      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Debtor 2 only
                                                                                        •
      •      At least one ol' the debtors and anoU-
                                                                                        •
                                                                                               Student loans
                                                                                               Obligations arising out of a separation agreement or divorce that
      •      Check If this claim Is for a community debt
                                                                                        •
                                                                                               you did not report as priority claims
                                                                                               Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   •      Other. Specify Store Credit/ Collection
      Iii No
      •      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page~of~
 Debtor 1           Mark             Case Anthony
                                          19-27024-LMI McDonald
                                                       Doc 1 Filed 12/23/19     Page 30 of 56
                                                                         Case number (if,._,,l'---------------
                    First Name                            LastNam•



~ R I O R I T Y Unsecured Clalms - Continuation Page


 After Hating any entries on this page, nu~ber them beginning with 4.4, followed by 4.5, and so forth.
                                          '

D      Chase Bank
      Nonpriorily Cnldltor's Name
                                                                                        Last 4 digits of account number       ~     ..£_ ..£_ _1_
                                                                                                                              06/25/2019
                                                                                                                                                                     994_.9_3
                                                                                                                                                                 $._ _

                                                                                        When was the debt Incurred?
      340 S. Cleveland Ave. Building 370
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Westerville                                       OH            43081
      City                                              Stata         ZIPCode           D    Contingent

       Who incurred the debt? Check one.
                                                                                        •    Unliquidated
                                                                                        D    Disputed
       ~ Debtor 1 only
      •       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      •       Debtor 1 and Debtor 2 only                                                D    Student loans
      •       At least one of the debtors and another                                   •    Obligations arising out of a separation agreement or divorce that

      •       Check If this claim Is for a community debt
                                                                                        •
                                                                                             you did not report as priority claims
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   if   Other.   specify_C_ol_le_ct_i_o_n_______
       BNo
      •       Yes

IT."·-----·-------•-•··-·--·---~-·-·····--·-----· ·--- - -------------------•·---•··-·-·-----·-·-·-·------·-------·--~-~---•··-·-•-·
       Florida City Gas                                                                 Last 4 digits of account number        _!__ .1__ __Q__ .]_               s   194.86
       Nonpriorily Cnldltofs Name
                                                                                        When was the debt Incurred?           10/31/2019
       P.O. Box 4569
      Number              Street
                                                                                        As of the date you file, the claim Is: Check all that apply.
       Atlanta                                          GA             30302
       City                                             Stata         ZIPCode           D    Contingent
                                                                                        D    Unliquidated
       Who incurred the debt? Check one.                                                Q    Disputed
       iii' Debtor 1 only
       D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       •      Debtor 1 and Debtor 2 only                                                D    Student loans
       D Af least one of the debtors and another                                        D    Obligations arising out of a separation agreement or divorce that

       •      Check If this claim is for a community debt
                                                                                        D
                                                                                             you did not report as priority claims
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subj&et to offset?                                                  ii   Other. Specify_U-'--t_il~ity.___ _ _ _ _ __
       ii No
       0      Yes



•      Nonpriorily Creditor's Name
                                                                                        Last 4 digits of account number _ _ _ _
                                                                                                                                                                 $_ _ __



                                                                                        When was the debt Incurred?

       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.

       City                                             State         ZIPCode           D    Contingent
                                                                                        •    Unliquidated
       Who Incurred the debt? Check one.
                                                                                        •    Disputed
       • Debtor 1 only
       D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       • Debtor 1 and Debtor 2 only                                                     D    Student loans
       • At least one of the debtors end another                                        D    Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       D      Check If this c:lalm Is for a community debt
                                                                                        D    Debts to pension or profit-sharing plans, and other similar debts
       la the claim subje,ct to offset?                                                 •    Other. Specify_ _ _ _ _ _ _ _ _ _ __

       •      No
       •      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                page.§..ot!_
Debtor 1           Mark                              Case 19-27024-LMIMcDonald
                                                      Anthony            Doc 1                       Filed 12/23/19    Page
                                                                                                                case n u m b 31
                                                                                                                             er<of"56
                                                                                                                                   "'-"'L--------------
                     FntNane                       MlddeName           Last Name


iii              ll.lst Othen to Be Notified About a Debt That You Already Usted

 5. Use this page only 11' you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, If a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or
    2, then list the collection agency here. Similarly, If you have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts In Parts 1 or 2, do not fill out or submit this page.

      Credit Management LP                                                                    On which entry In Part 1 or Part 2 did you 11st the original creditor?
      Name

      6080 Tennyson Parkway                                                                   Line   4.7   of (Check one):   •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street                                                                                         l!f    Part 2: Creditors with Nonpriority Unsecured Claims
      Suite 100
                                                                                              Last 4 digits of account number~            ~ _1__1_
      Plano                                                    TX            75024
      City                                                     State               ZIP Code

      ERC                                                                                     On which entry In Part 1 or Part 2 did you 11st the original creditor?
      Name

      P.O. Box 23870                                                                          Line ~ of ( Check one):        •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street
                                                                                                                             iii'   Part 2: Creditors with Nonpriority Unsecured
                                                                                              Claims

      Jacksonville                                             FL            32241            Last 4 digits of account number~            _! _!_ _!
      City                                                     State               ZIP Code
        •--·-· cc-•••---•·-----------•·-·--                                                     --.---~-------------••-------- -----•-                                             V   -•




                                                                                              On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                              Line         of (Check one):   •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street
                                                                                                                             •      Part 2: Creditors with Nonpriority Unsecured
                                                                                              Claims

                                                                                              Last 4 digits of account number _           __ _
      City                                                                         ZIP Code

                                                                                              On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                              Line         of (Check one):   •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street
                                                                                                                             •      Part 2: Creditors with Nonpriority Unsecured
                                                                                              Claims

                                                                                              Last 4 digits of account number _           __ _
      City                                                     State               ZIPCode


                                                                                              On which entry In Part 1 or Part 2 did you list the original creditor?
      Nama

                                                                                              Line         of (Check one):   •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street
                                                                                                                             •      Part 2: Creditors with Nonpriority Unsecured
                                                                                              Claims

                                                                                              Last 4 digits of account number _           __ _


                                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                              Line         of (Check one):   •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street
                                                                                                                             •      Part 2: Creditors with Nonpriority Unsecured
                                                                                              Claims

                                                                                              Last 4 digits of account number _           __ _
      City .......- ~........................ ..               State               ZIPCode


                                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                              Line         of (Check one):   •      Part 1: Creditors with Priority Unsecured Claims
      Number                  Street
                                                                                                                             •      Part 2: Creditors with Nonpriority Unsecured
                                                                                              Claims


      City                                                     State               ZIP Code
                                                                                              Last 4 digits of account number _            __ _



Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page?_of!._
    Debtor 1    Mark             Case 19-27024-LMI McDonald
                                   Anthony           Doc 1                      Filed 12/23/19    Page 32 of 56
                                                                                            Case number ( l f l u l O W I I ~ - - - - - - - - - - - -
                   Fm Name                           last Name



•              Add the Amounts for Each Type of Unsecured Claim


    6. Total the amounts of certain types of unsecured claims. This Information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.




                                                                                           Total clalm



    Total claims
                    6a. Domestic support obllgatlons                               6a.
                                                                                           $                   0.00
    from Part 1
                    6b. Taxits and certain other debts you owe the
                        gov,trnment                                                 6b.    $                   0.00
                    6c. Clal,ms for death or personal Injury while you were
                        intoKicated                                                6c.
                                                                                           $                   0.00
                    6d. Other. Add all other priority unsecured claims.
                        Write that amount here.                                    6d.                         0.00
                                                                                          +s

                    6e. Total. Add lines 6a through 6d.                             6e.
                                                                                           $                   0.00


                                                                                           Totalclalm

                    6f. Student loans                                              6f.                         0.00
    Total claims                                                                            $
    from Part2      69. Obligations arising out of a separation agreement
                        or divorce that you did not report as priority
                        claims                                                      6g.     $                  0.00
                    6h. Debts to pension or profit-sharing plans, and other
                        similar debts                                              6h.     $                   0.00

                    6i. Other. Add all other nonpriority unsecured claims.
                        Wri1e that amount here.                                     6i.   +s               8812.53


                    6j. Total. Add lines 6f through 6i.                            6j.
                                                                                            $              8812.53




    Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                 page!of~
                                  Case 19-27024-LMI                    Doc 1         Filed 12/23/19        Page 33 of 56

 F,11111    ti11s 111forr11at1:rn to 1de11t1fy your   CclSe



 Debtor
                   Mark                     Anthony                  McDonald
                    First Name                    Middle Name            Last Name


 Debtor2
 (Spouse If filing) Fn1 Name                      Mkkle Name             LaatName


 United States Bankruptcy Court for the: Southern District of Florida

 Case number
  (If known)                                                                                                                             0   Check if this is an
                                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, copy the additional page, fill It out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      Iii    No. Check this box and file this fonn with the court with your other schedules. You have nothing else to report on this fonn.
      D     Yes. Fill in all of the infonnation below even if the contracts or leases are listed on Schedule A/8: Property (Official Fonn 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
      example, rent, vehicle lease, cell phone). See the instructions for this fonn in the instruction booklet for more examples of executory contracts and
      unexpired leases



      Person or company with whom you have the contract or lease                                State what the contract or lease Is for


2.1
      Name


      Number           StreE,t


      City                                   State       ZIP Code

2.2
      Name


      Number           Streat


      City                                   State       ZIP Code

2.3
      Name


      Number           Strettt


      City                                   State       ZIP Code

2.4
      Name


      Number           Strettt


      City                                   State       ZIP Code

2.5
       Name


       Number           Streot


       City                                  State       ZIP Code


Official Fann 106G                                    Schedule G: Executory Contracts and Unexpired Leases                                      page 1 of_1_
                                    Case 19-27024-LMI                          Doc 1          Filed 12/23/19    Page 34 of 56

 Fill 111 tl11s 111for111<1t1 )11 to 1dent1fy your :ase


 Debtor 1         Mark                       Anthony                           McDonald
                    First Name                       Middle Name                  Last Name

 Debtor2
 (Spouse, ~ filing) Fim Name                         Mfdclle Name                 Last Name


 United States Bankruptc:y Court for the: Southern District of Florida

 Case number
  (If known)
                                                                                                                                                 D Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                    12/15

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space Is needed, copy the Additional Page, fill It out,
and number the entries In the boxes on the left. Attach the Addltlonal Page to this page. On the top of any Addltlonal Pages, write your name and
case number (If known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ~ No
     •     Yes
 2. Within the last 8 years, have you lived In a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ~    No. Go to line 3.
     •    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

          •     No
          •     Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _ . Fill in the name and current address of that person.



                 Name of yc,ur spouse, former spouse, or legal equivalent



                 Number            Street



                 City                                               State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not Include your spouse as a codebtor if your spouse is filing with you. List the person
      shown In line 2 again as a codebtor only if that person la a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F(Offlcial Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule EIF, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:

~        Name                                                                                                  •   Schedule D, line ___

                                                                                                               •   Schedule E/F, line ___
         Number           S'Jeel
                                                                                                               •   Schedule G, line ___

         City                                                          State                    ZIP Code


~        Name                                                                                                  •   Schedule D, line ___

                                                                                                               •   Schedule E/F, line ___
         Number           Street
                                                                                                               •   Schedule G, line ___

         City                                                          Stale                    ZIP Code

§]                                                                                                             •   Schedule D, line ___
         Name

                                                                                                               •   Schedule E/F, line ___
         Number           Street
                                                                                                               •   Schedule G, line ___

         City                                                          Stale                    ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                             page 1 ot_1_
                                Case 19-27024-LMI                   Doc 1            Filed 12/23/19           Page 35 of 56


 Fill 111 tl11s 1nfo1mat1on to 1dent1fy you, :ase


 Debtor 1         Mark                  Anthony                     McDonald
                   First Name               Mkldle Name                  Last Name

 Debtor 2
 (Spouse, If filing) Fnt Name               Middle Name                  Last Name


 United States Bankrupti:y Court for the: Southern District of Florida

 Case number                                                                                                Check if this is:
  (Hknown)
                                                                                                            D An amended filing
                                                                                                            D A supplement showing postpetition chapter 13
                                                                                                                income as of the following date:
Official Form 1061                                                                                              MM/ DD/ YYYY

Schedule I: Your Income                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct ln1'ormation. If you ant married and not filing jointly, and your spouse is living with you, Include Information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every question.


•§•I              Describe Employment

1. Fill in your employment
   information.                                                                Debtor 1                                        Debtor 2 or non.filing spouse

   If you have more than one job,
   attach a separate page with
   information about additional           Employment status                 121 Employed                                       0    Employed
   employers.                                                               0 Not employed                                     0    Not employed

   Include part-time, seasonal, or
   self-employed work.
                                          Occupation                      Inspector
   Occupation may include student
   or homemaker, if t applies.
                                          Employer's name                 Florida Department of Agriculture

                                          Employer's address              13603 Old Cutler Road
                                                                            Number Street                                  Number      Street




                                                                          Coral Gables            FL        33158
                                                                            City            State    ZIP Code              City                    State ZIP Code

                                          How long employed there?             6 years                                      6 years


•§fM              Give Details About Monthly Income

   Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. lndude your non-filing
   spouse unless you are separated.
   If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
   below. If you need more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                           !'on-filing spoyse
                                                                                                  ~·-----f~•~--- ----
 2. List monthly gross wages, salary, and commissions {before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.              2.            1659.00
                                                                                                    $                           $

 3. Estimate and 11:st monthly overtime pay.                                                 3.   +s              0        +    $

 4. Calculate gross income. Add line 2 + line 3.                                             4.     $      1659.00     I        $



Official Form 1061                                                   Schedule I: Your Income                                                             page 1
                                     Case 19-27024-LMI                                Doc 1             Filed 12/23/19               Page 36 of 56

Debtor 1         Mark                         Anthony                             McDonald                                     Case number w1mown,__ _ _ _ _ _ _ _ _ _ _ __
                  FinltName          Middle Name                Last Name



                                                                                                                              For Debtor1       For Debtor 2 or
                                                                                                                                                non:1!~.2.ous• .

    Copyllne4here ...............................................................................................   + 4.      $   1659.00           $_ _ _ _ _


 5. List all payroll deductions:

     Sa. Tax, Medicare, and Social Security deductions                                                                Sa.                           $_ _ _ __
                                                                                                                              $
     Sb. Mandatory c,:,ntributions for retirement plans                                                               Sb.     $      107.1          $_ _ _ _ _
                                                                                                                                                    $_ _ _ __
     Sc. Voluntary contributions for retirement plans                                                                 Sc.     $
     Sd. Required res;,ayments of retirement fund loans                                                               Sd.     $                     $_ _ _ _ __

     Se. Insurance                                                                                                    Se.     $     112.98          $_ _ _ _ _

     Sf. Domestic support obligations                                                                                 Sf.     $                     $_ _ _ __

                                                                                                                              $                     $_ _ _ __
     5g. Union dues                                                                                                   Sg.
     Sh. Other deductions. Specify: Medical                       Reimbursment                                        Sh.   +s       33.33      +$_ _ _ __

 6. Add the payroll deductions. Add lines Sa + Sb + Sc + Sd + Se +Sf+ Sg + Sh.                                        6.      $     253.41          $_ _ _ __


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.      $   1405.59           $_ _ _ __


 8. List all other Income regularly received:
     Sa. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                                0
                                                                                                                              $                     $
           monthly net income.                                                                                        Sa.
     8b. Interest and dividends                                                                                       8b.     $             0       $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                            0
           settlement, and property settlement.                                                                       8c.
                                                                                                                              $                     $

     8d. Unemployment compensation                                                                                    8d.     $             0       $
     Be. Social Security                                                                                              Be.     $             0       $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         S p e c i f y : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Bf.                                                        $_ _ _ __0            $

     8g. Pension or retirement Income                                                                                 8g.     $_ _ __0              $

     ah. Other monthly Income. Specify:                     Kingdom Covenant Ministries                               8h. +$           100      +s
 9. Add all other income. Add lines 8a + Sb + 8c + 8d + 8e + Bf +8g + 8h.                                             9.,$._ _1001                  $
                                                                                                                                                                       I
1o. Calculate monthly Income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                                       10.,      1505.59!+
                                                                                                                              $_ _ __               $
                                                                                                                                                                       I= Is
                                                                                                                                                1
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household. your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:_______________________________                                                                                                                     11. + $_ _ _ _0_.0_0_
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                                   1505.59
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13.Do you expect 11n Increase or decrease within the year after you file this form?
      0    No.
                                   am see mg o er emp oymen                         wi
      !;a Yes. Explain:


Official Form 1061                                                                    Schedule I: Your Income                                                                  page 2
                                          Case 19-27024-LMI                 Doc 1         Filed 12/23/19          Page 37 of 56

   Fill   111   1111~   1nfo11nzit10, to 1clerit1fy yolll c.:ise


   Debtor 1              Mark                       Anthony                  McDonald
                           Fl!o!Name                    MiddleName             LastName                       Check if this is:
   Debtor 2
   (Spouse, if fling) Flrsl Name                        Middle Name            LastNeme
                                                                                                              •   An amended filing
                                                                                                              0   A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Southern District of Florida                                           expenses as of the following date:
   Case number                                                                                                    MM/ DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                    12/15

 Be as complete and accurate as possible. H two married people are filing together, both are equally responsible for supplying correct
 Information. H more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (If known). Answer every question.

•§f 41                   Describe Your Household

 1. Is this a Joint case?

    S     No. Go to line 2.
    •     Yes. Does Debtor 2 live in a separate household?

                    •     No
                    •     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Seperate Household of Debtor 2.

 2. Do you have dependents?                           Iii No                               Dependent's relationship to              Dependent'•   Don dependent live
    Do not list Debtor 1 and
    Debtor 2.
                                                      •    Yes. Fill out this information for Debtor 1 or Debtor 2                  age           with you?
                                                           each dependent... ....................... - - - - - - - - - - -
    Do not state the dependents'
                                                                                                                                                  •     No
    names.                                                                                                                                        •     Yes
                                                                                                                                                  •     No
                                                                                                                                                  D     Yes

                                                                                                                                                  • No
                                                                                                                                                  D Yes
                                                                                                                                                  • No
                                                                                                                                                  0 Yes
                                                                                                                                                  • No
                                                                                                                                                  D     Yes

 3. Do your expenses Include
    expenses of people other than
                                                      if   No
    yourseH and your dependents?                      •    Yes


1§fI                Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy Is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance If you know the value of
 such assistance and have Included It on Schedule I: Your Income (Official Form 106!.)                                                 Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                      $                1331.00
      any rent for the ground or lot                                                                                          4.

      If not Included in line 4:
      4a.        Real estate truces                                                                                           4a.     $
      4b.        Property, homeowners, or renter's insurance                                                                  4b.     $
      4c.        Home maintenance, repair, and upkeep expenses                                                                4c.     $
      4d.        Homeowner's association or condominium dues                                                                  4d.     $

Official Form 106J                                                      Schedule J: Your Expenses                                                         page 1
                                 Case 19-27024-LMI                Doc 1      Filed 12/23/19     Page 38 of 56

 Debtor 1        Mark                    Anthony                 McDonald                 case number (If,.,_,,),_ _ _ _ _ _ _ _ _ _ _ _ __
                 FntName        MlddeName          LastNmne




                                                                                                                   YourexpenHs


                                                                                                                   $
  5. Additional mortgage payments for your residence, such as home equity loans                             5.

 6. Utilities:

      Sa.   Electricity, heat, natural gas                                                                  Sa.    $               180
      Sb.   Water, sewer, !Jarbage collection                                                               Sb.    $                 40
      Sc.   Telephone, cell phone, Internet, satellite, and cable services                                  Sc.    $               115
      6d.   Other. Specify:                                                                                 6d.    $
  7. Food and housekeeping supplies                                                                         7.     $               200

  8. Childcare and chi11:lren's education costs                                                             8.     $
 9. Clothing, laundry, and dry cleaning                                                                     9.     $                 50
10. Personal care products and services                                                                     10.    $                 80
11. Medical and dental expenses                                                                             11.    $
12. Transportation. Inc-Jude gas, maintenance, bus or train fare.
                                                                                                                   $                120
      Do not include car payments.                                                                          12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $                 50
14.   Charitable contributions and religious donations                                                      14.    $
15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.   $
      15b. Health insurarce                                                                                 15b.   $
      15c. Vehicle insurance                                                                                15c.   $                182
      15d. Other insurance. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        15d.   $

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                 16.    $

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                       17a.   $                359
      17b. Car payments for Vehicle 2                                                                       17b.   $
      17c. other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            17c.   $
      17d. Other. Spec~r:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                        18.
                                                                                                                   $

19. Other payments you make to support others who do not live with you.
      Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                     19.   $

20. Other real property expenses not Included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                      20a.   $
      20b. Real estate taxes                                                                                20b.   $
      20c. Property, homeowner's, or renter's insurance                                                     20c.   $
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $
      20e. Homeowner's association or condominium dues                                                      20e.   $


Official Form 106J                                            Schedule J: Your Expenses                                            page2
                                 Case 19-27024-LMI                Doc 1       Filed 12/23/19            Page 39 of 56

 Debtor 1        Mark                   Anthony                 McDonald                        case number(lfkncwm,___ _ _ _ _ _ _ _ _ _ __
                 FntName       MldclaName         LastN.na




21.    Other. Specify:                                                                                         21.   +$
                                                                                                                          _,.,.   ______ ···- --.--·-----···--·-··-·--··-

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                           22a.   $                               2707.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                   22b.   $                                        0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                        22c.                                   2707.00


23. Calculate your monthly net Income.
                                                                                                                      $                               1505.59
      23a.   Copy line 12 (),our combined monthly income) from Schedule I.                                    238.

      23b.   Copy your monthly expenses from line 22c above.                                                  23b.   -$                              2707.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                      $                            -1201.41
             The result is your monthly net income.                                                           23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      •   No.
                           .     I expect to get a lower mortgage payment and a reduction in my expenses because of not having the car
      iif Yes.     Explain here: loan anymore.




Official Form 106J                                           Schedule J: Your Expenses                                                                        page 3
                                            Case 19-27024-LMI            Doc 1                  Filed 12/23/19                       Page 40 of 56




Debtor 2
(Spouse, ij filing) First Name                     Middle Name          Last Name


United States Bankruptcy Cc,urt for the: Southern District of Florida

Case number
(If known)
                                                                                                                                                     D   Check if this is an
                                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                               12/15

 If two married people are filing together, both are equally responsible for supplying correct Information.

 You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

      )(No
       D     Yes. Name of person, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    X        AJ!?r-=:=
         Signature of Debtor 1                                              Signature of Debtor 2


         Date   l ti.. / 'l   >{     ,1.,• \   ~                            Date
                                                                                    -,-Mc:-M:-cl-,,-DD,---,1-YY----,YY-,--
                MM/     DD       I   YYYY




  Official Form 106Dec                                           Declaration About an Individual Debtor's Schedules
                                         Case 19-27024-LMI           Doc 1            Filed 12/23/19           Page 41 of 56


   Fill 111 this 117formJt1c n to 1dent1fy your c Jse


   Debtor 1          Mark                    Anthony               McDonald
                        FN'stName               MdfleName                 Last Name

   Debtor2
   (Spouse, If filing) First Nome               Middte Name               Last Name


   United States Bankruptcy Court for the: Southern District of Florida

   Case number
   (If known)                                                                                                                          •   Check if this is an
                                                                                                                                           amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/19
 Be as complete and accurate as poBBible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (If known). Answer every question.


                   Give Details About Your Marital Status and Where You Uved Before


   1. What Is your current marital status?

        •    Married
        till Not married

   2.   During the last 3 years, have you lived anywhere other than where you live now?

        13 No
        •    Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                          Dates Debtor 1       Debtor 2:                                            Dates Debtor 2
                                                                   lived there                                                               lived there


                                                                                        D   Same as Debtor 1                               D   Same as Debtor 1

                                                                   From                                                                        From
                 Number             Street                                                  Number Street
                                                                   To                                                                          To




                 City                         State ZIP Code                                City                    State ZIP Code

                                                                                        D Same as Debtor 1                                 D   Same as Debtor 1

                                                                   From                                                                        From
                 Number             Street                                                  Number Street
                                                                   To                                                                          To




                 City                         Stale ZIP Code                                City                    State   ZIP Code


   J. Within the last 8 years, did you ever live with a spouse or legal equivalent In a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

        •    No
        ~Yes.Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 •§fj             Explain the Sources of Your Income

Official Form 107                                Statement of Financial Affairs for Individuals FIiing for Bankruptcy                               page 1
                                   Case 19-27024-LMI                           Doc 1          Filed 12/23/19            Page 42 of 56


Debtor 1       Mark                       Anthony                        McDonald                              Case number (iflmown),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name       Middle Name              Last Name




 4. Did you have any Income from employment or from operating a business dl{rlng this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a jc,int case and you have income that you receive together, list it only once under Debtor 1.

      •    No
      Ga   Yes. Fill in the details.

                                                                   Debtor1                                              Debtor2

                                                                   Sources of income           Gross Income             Sources of income          Gross income
                                                                   Check all that apply.       (before deductions and   Check all that apply.      (before deductions and
                                                                                               exclusions)                                         exclusions)


            From January 1 of current year until
                                                                   Ga Wages, commissions,
                                                                                               $              21194     •   Wages, commissions,    $_ _ _ _ _ _ _
                                                                       bonuses, tips               -------                  bonuses.tips
            the date you flied for bankruptcy:
                                                                   •   Operating a business                             •   Operating a business


            For last calendar year:
                                                                   Ga Wages, commissions,
                                                                       bonuses.tips            $_ _ _1_85_7_4
                                                                                                                        •   Wages, commissions,
                                                                                                                            bonuses, tips          $_ _ _ _ _ _ _
            (January 1 to December 31, _20_1~8~-
                                                YYYY
                                                                   •   Operating a business                             •   Operating a business



            For the calendar year before that:                     64 Wages, commissions,
                                                                       bonuses, tips
                                                                                                                        •   Wages, commissions,
                                                                                                                            bonuses.lips
                                                                                               $_ _ _1_9_37_4                                      $_ _ _ _ __
            (January 1 to December 31, .:::;2.;;;..01..;.;7'--_,
                                                yyyy
                                                                   •   Operating a business                             •   Operating a business




 s.   Did you receive any other Income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lott,9ry winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source ;and the gross income from each source separately. Do not include income that you listed in line 4.

      • No
      ~Yes.Fill in tho details.

                                                                   Debtor1                                               Debtor2

                                                                   Sources of income           Gross Income from         Sources of income         Gross Income from
                                                                   Describe below.             each source               Describe below.           each source
                                                                                               (before deductions and                              (before deductions and
                                                                                               exclusions)                                         exclusions)



            From January 1 of current year until                   KCM                         $     600 ----------
                                                                                               --------                                            $,_ _ _ _ _ __
            the date you flied for bankruptcy:                                                 $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ _ __
                                                                                               $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ __


                                                                   KCM                                   1500
                                                                                              $· - - - - -                                         $_ _ _ _ _ __
             For last calendar year:                                                                       --
                                                                                              $_ _ _ _ _ _ _ _                                     $_ _ _ _ _ __
             (January 1 to December 31, 2018 )
                                                 yyyy
                                                                                              $_ _ _ _ _ __                                        $_ _ _ _ _ _ _



             For the calendar year before that:                    KCM                                   0.00                                      $_ _ _ _ _ _ __
                                                                                              $
                                                                                               -------
                                                                                              $_ _ _ _ _ _ _ _                                     $_ _ _ _ _ _ _
             (January 1 to December 31, 2017               )
                                                 yyyy
                                                                                              $,_ _ _ _ _ __                                       $,_ _ _ _ _ __




Official Form 107                                    Statement of Financial Affairs for Individuals FIiing for Bankruptcy                                      page 2
                                  Case 19-27024-LMI                    Doc 1       Filed 12/23/19         Page 43 of 56


Debtor 1      Mark                        Anthony                    McDonald                      Case number (If known,,__ _ _ _ _ _ _ _ _ _ _ __
               FlrslName         MklcleName           Last Name




              Ust Certain Payments You Made Before You Flied for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     D     No. Neither Clebtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               D      No. (;,o to line 7.

               D      Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           1::hild support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * SUbject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     6ZI   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               Gill   No. Go to line 7.

               D      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of    Total amount paid       Amount you still owe     Was this payment for...
                                                                        payment


                                                                                    $._ _ _ _ _ __ $_ _ _ _ _ _ __
                       Creoltor's Name
                                                                                                                                     D Mortgage
                                                                                                                                     D Car
                       Nurroer   Street                                                                                              0   Credit card

                                                                                                                                     D Loan repayment
                                                                                                                                     D Suppliers or vendors
                       City                   State       ZIP Code
                                                                                                                                     D Other _ _ _ __

                                                                                    $_ _ _ _ _ _ _ $_ _ _ _ _ _ __
                       Creditor's Name
                                                                                                                                     D Mortgage
                                                                                                                                     Dear
                       Number    Street                                                                                              D Credit card
                                                                                                                                     D Loan repayment
                                                                                                                                     0   Suppliers or vendors

                       City                   State
                                                                                                                                     0   Other _ _ _ __
                                                          ZIP Code




                                                                                    $_ _ _ _ _ _ _         $_ _ _ _ _ _ _ _
                                                                                                                                     0   Mortgage
                       Creditor's Name
                                                                                                                                     0   Car

                       Number    Street                                                                                              0   Credit card

                                                                                                                                     0   Loan repayment

                                                                                                                                     0   Suppliers or vendors

                                              State
                                                                                                                                     0   Other _ _ _ __
                                                          ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Flllng for Bankruptcy                           page 3
                                      Case 19-27024-LMI                   Doc 1       Filed 12/23/19            Page 44 of 56


Debtor 1        Mark                       Anthony                    McDonald                        Case number ( K i m o w n l ' - - - - - - - - - - - - - - - -
                   Fir&tNarne       Middle Name           Last Name




 7. Within 1 year before you flied for bankruptcy, did you make a payment on a debt you owed anyone who was an Insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     121   No
     •     Yes. List all payments to an insider.
                                                                         Dates of      Total amount     Amount you still    Reason for this payment
                                                                         payment       paid             owe


                                                                                      $_ _ _ _ _ $_ _ _ __
            Inside~& Name



            Number        Street




            City                                  State   ZIP Code


                                                                                      $_ _ _ _ _ $_ _ _ __
            lnsid~s Name


            Number        Street




            City                                  State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     121   No
     •     Yes. List all payments that benefited an insider.

                                                                        Dates of       Total amount     Amount you stlll    Reason for this payment
                                                                        payment        paid             owe
                                                                                                                            Include creditor's name

                                                                                      $_ _ _ _ _ $_ _ _ __
            Insider's Name



            Number        Street




            City                                  State   ZIP Code



                                                                                      $_ _ _ _ _ $_ _ _ __
            lns~sName



            Number        Stree-.




            City                                  State   ZIP Code




Official Form 107                                    Statement of Financial Affairs for lndlvlduals FIiing for Bankruptcy                              page4
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Debtor 1        Mark                         Anthony                     McDonald                               Case number (If known)_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name            Middle Name            Last Name




                Identify Legal Actions, Repossessions, and foreclosures
 9. Within 1 year before you flied for bankruptcy, were you a party In any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract dispute1s.

     0     No
     GIi   Yes. Fill in the details.
                                                                    Nature of the case                    Court or agency                                     Status of the case

                                                                   Foredosure lawsuit
                                                                                                         11th Judicial Circuit
            case title Summons:             Personal                                                                                                          i;a   Pending
                                                                                                         Court Name

            service on a natural person                                                                                                                       0     Onappeal
                                                                                                         175 NW 1st Ave
                                                                                                         Number    Street                                     0     Concluded

            Case number                                                                                   Miami                         FL          33128
                                                                                                         City                   State    ZIP Code




            Case title_ _ _ _ _ _ _ _ _ __
                                                                                                         Court Name
                                                                                                                                                              0     Pending

                                                                                                                                                              0     Onappeal

                                                                                                         Number    Street                                     0     Concluded

            Case number
                                                                                                         City                   Stale    ZIPCode


 10. Within 1 year before you flied for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     0     No. Go to line 11.
     Ga    Yes. Fill in the information below.

                                                                              Describe the property                                          Date           Value of the property

                                                                             2013 Toyota Corolla
                 Westlake Financial Services                                 I got the property back after it was                            04/23/2019          4000.00
                                                                                                                                                            $_ _ _ _ __
                 Creditor's Name                                             repossessed.


                 Number      Street                                           Explaln what happened


                 P.O. Box 54807                                               GIi   Property was repossessed.
                                                                              0     Property was foreclosed.

                 Los Angeles                        CA       90054            0     Property was garnished.
                 City                               State   ZIP Code          0     Property was attached, seized, or levied.

                                                                              Describe the property                                          Date            Value of the propef1l



                                                                                                                                                            $_ _ _ _ __
                 Credttor's Name



                 Number      Street
                                                                              Explain what happened


                                                                              0     Property was repossessed.
                                                                              0     Property was foreclosed.

                 City                               State   ZIP Code
                                                                              0     Property was garnished.
                                                                              0     Property was attached, seized, or levied.



Official Form 107                                      Statement of Flnanclal Affairs for Individuals Flllng for Bankruptcy                                            page 5
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Debtor 1          Mark                    Anthony                     McDonald                           Case number (it known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                  FlnltNane      MiddleNmne              Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     6Zi   No
     0     Yes. Fill in the d,~tails.

                                                                 Describe the action the creditor took                      Date action       Amount
                                                                                                                            was taken
           Creditor's Name


                                                                                                                                              $_ _ _ _ __
           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 year before you flied for bankruptcy, was any of your property In the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     621   No
     0     Yes


•§fj              List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     621   No
     0     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                         Dates you gave       Value
            perpenion                                                                                                       the gifts



                                                                                                                                               $_ _ _ __
           Person lo Whom YoJ Gave the Gift


                                                                                                                                               $_ _ _ __


           Number     Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                          Dates you gave     Value
           per person                                                                                                        the gifts


                                                                                                                                                $_ _ _ __
           Person lo Whom You Gave the Gift

                                                                                                                                                $_ _ _ _ __



           Number     Street



           City                           State   ZIP Code


           Person's relationship to you _ _ _ _ __


Official Form 107                                   Statement of Financial Affairs for Individuals FIiing for Bankruptcy                                page 6
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Debtor 1          Mark                    Anthony                       McDonald                               Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   Finl Name      Middle Name              last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     6a    No
     0     Yes. Fill in the details for each gift or contribution.

            Gifts or contrib11tlons to charities                  Describe what you contributed                                         Date you          Value
            that total mora than $600                                                                                                   contributed



                                                                                                                                                          $_ _ _ __
           Charity's Name


                                                                                                                                                          $_ _ _ __



           Number      Street




           City          State     ZIP Code




•&••I              List Certain Losses

 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     GI No
     0     Yes. Fill in the details.

            Describe the pioperty you lost and                     Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                       loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule AIB: Property.


                                                                                                                                                          $._ _ _ __




FIE               List Certain Payments or Transfers

 16. Within 1 year before you flied for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     Ga    No
     0     Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                        transfer was
            Person Who Was Paid                                                                                                         made


            Number       Street                                                                                                                           $_ _ _ _ __


                                                                                                                                                          $_ _ _ __

            City                        State   ZIP Code


            Email or website address


             Person Who Mada the Payment, if Not You



Official Form 107                                  Statement of Flnanclal Affairs for lndlvlduals Flllng for Bankruptcy                                           page7
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Debtor 1        Mark                      Anthony                        McDonald                             Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                    Finl Name      Middte Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment


            Person Who Was P~id
                                                                                                                                                          $_ _ _ __

            Number        Street
                                                                                                                                                          $_ _ _ __



            City                        State    ZIP Code




            Email or website ad:lress


            Person Who Made ltle Payment, If Not You


 17. Within 1 year befol'e you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     lit No
     D     Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
                                                                                                                                    made
            Person Who Was Paid

                                                                                                                                                          $_ _ _ __
             Number       Street


                                                                                                                                                          $_ _ _ __

             City                        State   ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outrigt-t transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     64 No
     D     Yes. Fill in the cletails.

                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid In exchange                       was made

            Person Who ReceH1ed Transfer


            Number        Street




            City                        State    ZIP Code


            Person's relationship to you _ _ _ __



            Person Who Received Transfer


            Number        Street




            City                        State    ZIP Code

            Person's relatio11ship to you _ _ _ __

Official Form 107                                   Statement of Flnanclal Affairs for lndlvlduals FIiing for Bankruptcy                                        page8
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Debtor 1        Mark                      Anthony                      McDonald                            Case number (Kknown,__ _ _ _ _ _ _ _ _ _ _ _ __
                    Firsl:Name      MiddteName         Last Name




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
      are a beneficiary? (These are often called asset-protection devices.)

     li1   No
     0     Yes. Fill in the diitails.

                                                               Description and value of the property transferred                                         Date transfer
                                                                                                                                                         was made


           Name of trust




H@f:ij Ust Certain Flnanclal Accounts, Instruments,                                  Safe Deposit Boxee, and Storage Units
 20. Within 1 year before you flied for bankruptcy, were any financial accounts or Instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Gil No
     0     Yes. FIii In the details.

                                                                   Last 4 digits of account number    Type of account or       Date account was       Last balance before
                                                                                                      Instrument               closed, sold, moved,   closing or transfer
                                                                                                                               or transferred

            Name of Financial lnsUtuUon
                                                                   XXXX-_ -           -     -         •   Checking                                    $_ _ __

            Number         Street                                                                     •   Savings

                                                                                                      •   Money mart<et

                                                                                                      •   Brokerage
            City                                                                                      •   Other_ _ __



                                                                   XXXX-_ _ _ _                       •   Checking                                    $_ _ _ __
            Name of Financial lnsUtuUon
                                                                                                      •   Savings

            Number         Street                                                                     •   Money mart<et

                                                                                                      0   Brokerage
                                                                                                      •   Other_ _ __
            City

  21. Do you now have, or did you have within 1 year before you flied for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     GI    No
     •     Yes. Fill In the details.
                                                                   Who else had access to It?                    Describe the contents                       Do you still
                                                                                                                                                             have It?

                                                                                                                                                             •   No
            Name of Financial Institution                      Name
                                                                                                                                                             •   Yes


            Number         Street                              Number      Street


                                                               City          State        ZIP Coda

             City                        State   ZIPCode



Official Form 107                                  Statement of Financial Affairs for Individuals Flllng for Bankruptcy                                     page9
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Debtor 1           Mark                    Anthony                         McDonald                              Gase number(lfknown)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name              last Name




 22. Have you stored property In a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     till No
     •     Yes. FIii in the details.
                                                                    Who else has or had acceu to It?                 Describe the contents                Do you still
                                                                                                                                                          have It?

                                                                                                                                                           • No
             Name of Storage FnlClllty                              Name
                                                                                                                                                           • Yes
             Number       Streat                                    Number    Street


                                                                    CltyS- ZIP Code

             City                        State    ZIP Code



                      Identify Property You Hold or Control for Someone El9e
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold In trust for someone.
     GI No
     •   Yes. FIii in the details.
                                                                    Where la the property?                           Describe the property             Value



             Owner'• Name                                                                                                                              $_ _ _ _

                                                                   Number    Street
             Number        Streat



                                                                   City                       State   ZIP Code
             City                        S-       ZIPCode

                      Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material Into the air, land, soll, surface water, groundwater, or other medium,
     Including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 • Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize It or used to own, operate, or utilize It, Including disposal sites.
 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or slmllar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially Hable under or in violation of an environmental law?

     ezl No
     •      Yes. Fill in the details.
                                                                    Governmental unit                     Environmental law, If you know It           Date of notice




            Name of site                                           Govemmentel unit


            Number       Streat                                    Number    Street


                                                                   City



            City



Official Form 107                                    Statement of Financial Affairs for Individuals FIiing for Bankruptcy                                page 10
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Debtor 1         Mark                      Anthony                           McDonald                                   Case number(ifknownl_ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name           last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     Gf No
     •      Yes. FIii in the detalls.
                                                                 Governmental unit                                  Environmental law, If you know It                    Date of notice



             Name of site                                       Govemmantal unit


             Number        Street                               Number        Street



                                                                City                     State    ZIP Code


             City                        State    ZIP Coda


 26. Have you been a party In any judlclal or administrative proceeding under any environmental law? Include settlements and orders.

     liZI   No
     •      Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                      Court or agency                                    Nature of the case
                                                                                                                                                                          case
            Case title._ _ _ _ _ _ _ _ _ _ __
                                                                      Court Name
                                                                                                                                                                          •   Pending

                                                                                                                                                                          •   Onappeal
                                                                      Number    Street                                                                                    •   Concluded


            Case number                                               City                       State   ZIP Coda



•§f fM                Give Delalla About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            •    A sole proprietor or self-employed In a trade, profession, or other activity, either full-time or part-time
            •    A member of a limited liability company (LLC) or limited liability partnership (LLP)
            •    A partner in a partnership
            •    An officer, director, or managing executive of a corporation
            •    An owner of at least 5°/. of the voting or equity securities of a corporation

     !iii No. None of the above applles. Go to Part 12.
     •      Yes. Check all that apply above and fill in the detalls below for each business.
                                                                      Describe the nature of the business                               Employer Identification number
                                                                                                                                        Do not Include Social Security number or mN.
             Business Name

                                                                                                                                        EIN: _ _ _ _ _ _ _ _ _
             Number        Street
                                                                      Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                        From               To
             City                        Stat•    ZIP Coele
                                                                      Describe the nature of the business                               Employer Identification number
                                                                                                                                        Do not Include Social Security number or mN.
              Business Name

                                                                                                                                        EIN: _ _ _ _ _ _ _ _ _
              Number       Street
                                                                      Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                        From               To
              City                        Stat•   ZIP Coele


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 11
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Debtor 1      Mark                       Anthony                   McDonald                             Case number (if/mown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   Finl Name      Mtdcle Name          last Name




                                                                                                                   Employer Identification number
                                                               Describe the nature of the business
                                                                                                                   Do not Include Social Security number or mN.
            Bual,,..aName
                                                                                                                   EIN: _ _ _ _ _ _ _ _ _

            Number       Street
                                                               Name of accountant or bookkeeper                    Dates business existed



                                                                                                                   From               To
            City                       State    ZIP Code




 28. WHhln 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     Institutions, creditors, or other parties.

     6ZI   No
     0     Yes. FIii in the details below.

                                                               Date Issued




            Name                                               MM/DD/YYYY



            Number       Street




            City                       State    ZIP Code




•ifti              Stgn ~ow

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 13-41, 1519, and 3571.




                                                                                Signature of Debtor 2


            Date    12/22/2019                                                  Date _ _ _ _ __

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals FIiing for Bankruptcy (Official Form 107)?

       ~     No
       0     Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      Iii No
       0    Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for lndlvlduals FIiing for Bankruptcy                                page 12
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F,11 1·1   (l,,s 111for1nat1011 to 1rlcnt1fy your case



DebtCN" 1         Mark                     Anthony                   McDonald
                   FlrslName                   Middle Name               Last Name

DebtCN" 2
(Spouse, WIiting) First Name                   Middle Name               Last Name


United States Bankruptcy Court for the: Southern District of Florida

Case number                                                                                                                                 •     Check if this is an
 (If known)                                                                                                                                       amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                             1211s

  If you are an Individual filing under chapter 7, you must fill out this form If:
  •        creditors have claims secured by your property, or
  •        you have leased per&onal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

  •ifI              List Your Creditors Who Have Secured Clalms

      1. For any creditors that you listed In Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill In the
         information below.

             Identify the creditor and the property that Is collateral                What do you Intend to do with the property that   Did you claim the property
                                                                                      secures a debt?                                   as exempt on Schedule C?

            Creditor's
            name:        PHH Mortgage Services
                                                     .                               D Surrender the property.                          •   No
                                                                                     D Retain the property and redeem it.               15!1Yes
            Description of Single family home located at
            property       11300 SW 179th St                                         6ZI Retain the property and enter into a
                                                                                        Reaffirmation Agreement.
            securing debt: Miami, FL 33157
                                                                                     D Retain the property and [explain]: _ _ __


            Creditor's
            name:
                               .
                         Leoni Roberts
                                                                                     D Surrender the property.                          •   No
                                                                                     D Retain the property and redeem it.               ell Yes
            Description of Single family home located at
            property       11300 SW 179th St
                                                                                     D Retain the property and enter into a
                                                                                        Reaffirmation Agreement.
            securing debt: Miami, FL 33157
                                                                                     D Retain the property and [explain): _ _ __

            Creditor's
            name:
                                                                                     D Surrender the property.                          •   No

            Description of
                                                                                     D Retain the property and redeem it.               •   Yes

            property
                                                                                     D Retain the property and enter into a
            securing debt:                                                              Reaffirmation Agreement.
                                                                                     D Retain the property and [explain]: _ _ __

            Creditor's
            name:
                                                                                     D Surrender the property.                          • No
            Description of
                                                                                     D Retain the property and redeem it.               • Yes
            property
                                                                                     D Retain the property and enter into a
            securing debt:                                                              Reaffirmation Agreement.
                                                                                     D Retain the property and [explain]: _ _ __


   Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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 Deblor 1        Mark                             Anthony             McDonald                     Case number (If known,__ _ _ _ _ _ _ _ _ _ _ __
                First.Name          Middle Name         Last Name




•If&             Ust Your Unexpired Penonal Property Leases

  For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Offlclal Fonn 106G),
  fill In the lnfonnatlon below. Do not list real estate leases. Unexpired leases are leases that are stlll In effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease If the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                               Will the lease be assumed?

       Lessor's name:                                                                                                 • No
       Description of leased
                                                                                                                      • Yes
       property:


       Lessor's name:                                                                                                 •   No

       Description of leased
                                                                                                                      •   Yes
       property:


       Lessor's name:
                                                                                                                      • No
       Description of leased                                                                                          • Yes
       property:



       Lessor's name:                                                                                                 • No
                                                                                                                      • Yes
       Description of leastid
       property:



       Lessor's name:                                                                                                 • No
       Description of leasi~d
                                                                                                                      • Yes
       property:


       Lessor's name:                                                                                                 • No
       Description of leased
                                                                                                                      • Yes
       property:



       Lessor's name:
                                                                                                                      • No
       Description of leased
                                                                                                                      • Yes
       property:




•iii             Sign Below


     Under penalty of perjury, I declare that I have Indicated my Intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.


   X          £JR)                           j


       Signature of Debtor 1                                             Signature of Debtor 2

       Date   12/22/2019                                                 Date _ _ _ _ _ _ __
              MM/ 00     /   YYYY                                             MM/   00 /   YYYY




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        Capital One
        PO Box 85015
        Richmond, VA 23285




        Credit One
        6801 S. Cimarron Road
        Las Vegas, NV 89113




        Fingerhut/Webbank
        6250 Ridgewood Road
        Saint Cloud, MN 56303




        Indigo- Celtic Bank
        PO Box 4499
        Beaverton, OR 97076



        Merrick Bank
        PO Box 9201
        Old Bethpage, NY 11804




        Comcast/ Xfinity
        141 NW 16th St
        Pompano Beach, FL 33060




        AT&T/ Uverse
        PO Box 5014
        Carol Stream,    IL 60197




        Progressive Leasing
        256 Data Dr.
        Draper, UT 84020




        Chase Bank
        340 S. Cleveland Ave. Bldg 370
        Westerville, OH 43081



        Florida City Gas
        PO Box 4569
        Atlanta, GA 30302
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       PHH Mortgage Service
       1 Mortgage Way
       Attn: SV09
       Mt. Laurel, NJ 08054



       Credit Management LP
       6080 Tennyson Parkway
       Suite 100
       Plano, TX 75024



       ERC
       PO Box 23870
       Jacksonville, FL 32241




       Westlake Service Inc.
       4751 Wilshire Blvd
       Suite 100
       Los Angeles, CA 90010


       Ocwen Loan Servicing, LLC
       1661 Worthington Rd
       Suite 100
       West Palm Beach, FL 33409
